            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5674 Page 1 of 76



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                        JOSHUA A. DEL CASTILLO (BAR NO. 239015)
                      2 NORMAN M. ASPIS (BAR NO. 313466)
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                      7
                        Attorneys for Receiver
                      8 THOMAS SEAMAN
                      9                             UNITED STATES DISTRICT COURT
                     10                           SOUTHERN DISTRICT OF CALIFORNIA
                     11
                     12 SECURITIES AND EXCHANGE                   Case No. 15-cv-226 BAS-MSB
                        COMMISSION,
                     13                                           NO ORAL ARGUMENT UNLESS
                                      Plaintiff,                  REQUESTED BY THE COURT
                     14
                              v.                                  DECLARATION OF THOMAS A.
                     15                                           SEAMAN IN SUPPORT OF MOTION
                        TOTAL WEALTH MANAGEMENT,                  OF RECEIVER, THOMAS A.
                     16 INC.; et al.,                             SEAMAN, FOR ORDER: (1)
                                                                  APPROVING FINAL REPORT AND
                     17                     Defendants.           ACCOUNTING; (2) AUTHORIZING
                                                                  PAYMENT OF FINAL FEE
                     18                                           APPLICATIONS OF RECEIVER AND
                                                                  PROFESSIONALS; AND (3) STAYING
                     19                                           RECEIVERSHIP CASE AND
                                                                  DISCHARGING AND RELEASING
                     20                                           RECEIVER
                     21                                           [Notice of Motion and Motion;
                                                                  Memorandum of Points and Authorities;
                     22                                           Final Report and Accounting; Final
                                                                  Applications for Payment of Fees and
                     23                                           Reimbursement of Expenses; and
                                                                  [Proposed] Order thereon submitted
                     24                                           concurrently herewith]
                     25                                           Date: March 2, 2020
                                                                  Ctrm: 4B
                     26                                           Judge Hon. Cynthia Bashant
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP
                                                                                   Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5675 Page 2 of 76



                      1                          DECLARATION OF THOMAS A. SEAMAN
                      2               I, Thomas A. Seaman, declare as follows:
                      3               1.    I am the Court-appointed permanent receiver (the "Receiver") for Total
                      4 Wealth Management, Inc., and its subsidiaries and affiliates, (collectively, the
                      5 "Receivership Entities" or "Entities"). I was appointed as Receiver in the above-
                      6 captioned action on June 7, 2016, by virtue of this Court's June 7, 2016 Order
                      7 Approving Joint Stipulation to Substitute Thomas A. Seaman as Permanent
                      8 Receiver (the "Appointment Order") (ECF No. 102). I have personal knowledge of
                      9 the facts set forth in this Declaration, and make this Declaration in support of the
                     10 concurrently-filed Motion of Receiver for Order: (1) Approving Final Report and
                     11 Accounting; (2) Authorizing Payment of Final Fee Applications of Receiver and
                     12 Professionals; and (3) Staying Receivership Case and Discharging and Releasing
                     13 Receiver (the "Wind-Up Motion").
                     14               2.    Since my appointment I have administered the estate of the
                     15 Receivership Entities (the "Estate" or "Receivership Estate") and all receivership
                     16 assets (the "Assets" or "Receivership Assets") in accordance with the Court's
                     17 instructions including, but not limited to: (1) marshaling and preserving
                     18 Receivership Assets; (2) performing accountings and analysis of the Receivership
                     19 Entities' financial activities and condition; (3) eliminating and addressing the
                     20 Entities' liabilities; (4) recommending the claims process, appropriate treatment of
                     21 claims, and making distributions; and (5) preparing reports for this Court.
                     22               3.    Pursuant to this Court's February 12, 2015 "(1) Preliminary Injunction,
                     23 Appointment of a Permanent Receiver, and Related Orders; and (2) Order Vacating
                     24 Hearing on Preliminary Injunction" (ECF No. 8), and this Court's May 8, 2015
                     25 "Order Granting Motion for Order in Aid of Receivership" (ECF No. 31), my most
                     26 significant accomplishments during the pendency of the instant receivership include:
                     27                          Completing a detailed review and analysis of the business and
                     28                           financial activities of the Receivership Entities, including a
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   Mallory & Natsis LLP                                                                       Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                                -2-
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5676 Page 3 of 76



                      1                         review and analysis of hundreds of thousands of transactions,
                      2                         detailed in over a million pages of records relating to the
                      3                         Receivership Entities and their investors;
                      4                        Marshaling and preserving all Receivership Assets, ultimately
                      5                         resulting in gross recoveries in the amount of $4,989,420 for the
                      6                         benefit of the Receivership Entities, including funds raised from
                      7                         the sale of personal property assets, liquidations, and settlement
                      8                         and pending litigation;
                      9                        Securing Court approval of the settlement of claims alleged in
                     10                         the action styled Seaman v. Lively, et al., Case No. 37-2016-
                     11                         00003644-CU-PN-CTL, and recovering significant settlement
                     12                         proceeds for the benefit of the Receivership Entities, including
                     13                         with respect to settlement proceeds against which Defendant
                     14                         Jacob Cooper alleged a claim;
                     15                        Negotiating a settlement, and securing Court approval thereof, of
                     16                         the action styled Seaman v. Private Placement Capital Notes II,
                     17                         LLC, et al., USDC, S.D. Cal. Case No. 16-cv-0578 BEN (DHB)
                     18                         (the "PPCN Action"), which settlement (the "PPCN Settlement")
                     19                         provides for, among other things, a settlement payment to the
                     20                         Receivership Entities in the amount of at least $1 million, and
                     21                         which, if successful, may enable me to make a supplemental and
                     22                         final distribution on allowed claims (the "Final Distribution");
                     23                        Reviewing and addressing more than three hundred (300) claims
                     24                         submitted by Receivership Entity investors and creditors,
                     25                         conferring with claimants regarding claim deficiencies, and
                     26                         developing and securing Court approval of my recommended
                     27                         equitable treatment of allowed claims; and
                     28
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   Mallory & Natsis LLP                                                                      Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                              -3-
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5677 Page 4 of 76



                      1                          Developing, and securing Court approval of, my proposed
                      2                           omnibus plan for distribution on allowed claims, pursuant to
                      3                           which I made an initial distribution, in the aggregate amount of
                      4                           $2,831,772.341, on a pro rata basis on all allowed, non-
                      5                           subordinated claims.
                      6               4.    I believe I have – with the assistance of my Professionals2 – fulfilled
                      7 each of my responsibilities to the fullest extent possible, and have exhausted all
                      8 reasonable efforts to recover additions Receivership Assets for the benefit of the
                      9 Estate. Accordingly, my continued administration, except in connection with a
                     10 potential settlement payment derived from the PPCN Settlement, will not increase
                     11 the amount of Assets available to the Receivership Estate. Thus, in my judgment,
                     12 the costs of continuing the receivership now outweigh the benefits.
                     13               5.    Given this determination, and having fulfilled my responsibilities under
                     14 the Appointment Order, I believe it is now time to stay the receivership case
                     15 pending a potential performance of the PPCN Settlement, and discharge and release
                     16 me, except as in connection with the Final Distribution. My Final Report and
                     17 Accounting (the "Final Report"), which also appends my final accounting for the
                     18 Estate, has been submitted to the Court concurrently with the Wind-Up Motion.
                     19 The Final Report summarizes my actions and the actions of my Professionals during
                     20
                            1
                     21          In connection with my "Motion for Order Authorizing and Approving Omnibus
                                 Plan for Distribution on Allowed Claims" (ECF No. 245), the Court entered its
                     22          April 8, 2019 "Order: (1) Overruling Claimant Richard M. Kipperman's
                                 Objection and (2) Granting Receiver Thomas A. Seaman's Motion for Order
                     23          Authorizing and Approving Omnibus Plan for Distribution on Allowed Claims,
                                 as Amended" (the "Omnibus Distribution Order") (ECF No. 253), pursuant to
                     24          which the Court authorized me to make an initial aggregate distribution in the
                                 amount of $2,832,982, on a pro rata basis, on all allowed, non-subordinated
                     25          claims. Subsequently, I corrected an erroneously-calculated distribution to a
                                 particular investor, which led to an additional distribution in the amount of
                     26          $1,178.28. In addition, I made an adjustment to the aggregate distribution
                                 amount to the extent that certain distribution checks were voided, in the amount
                     27          of $2,387.98. Accordingly, my initial distribution amount was $2,831,772.34.
                            2
                                 For the purposes of this Declaration, my "Professionals" are my attorneys, Allen
                     28          Matkins Leck Gamble Mallory & Natsis, LLP, and my accountants and tax
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                                 professionals, Crowe LLP.
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                       Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                                -4-
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5678 Page 5 of 76



                      1 the pendency of the receivership case, and provides descriptions of my document
                      2 review and analysis, accounting, Asset preservation and recovery, claims
                      3 administration and reporting efforts. A copy of my final accounting summary,
                      4 reflecting recoveries and expenditures during the pendency of the receivership, is
                      5 attached as Exhibit 1 to the Final Report. Concurrently with the Wind-Up Motion,
                      6 my Professionals and I have also submitted our respective Final Fee Applications,
                      7 requesting payment of our respective outstanding fees and expenses already incurred
                      8 and anticipated fees and expenses through the termination of the instant
                      9 receivership.
                     10               6.    As is customary in these matters, I will submit a declaration to the
                     11 Court reflecting the completion of the wind-up tasks and the outcome of the PPCN
                     12 Settlement.
                     13               7.    The Court has already authorized me, pursuant to its April 8, 2019
                     14 Omnibus Distribution Order, to set aside $520,334 from cash on-hand to cover my
                     15 and my Professionals' administrative and professional fees, including for: (a)
                     16 unpaid holdbacks of $333,834.41 of already-approved fees and expenses; and (b) a
                     17 proposed reserve in the aggregate amount of $186,500 to cover remaining
                     18 administrative fees and expenses.3 While the Court has authorized the set-aside of
                     19 these amounts, it has not authorized me to make payment therefrom. Accordingly, I
                     20 respectfully request such authorization at this time to pay my and my Professionals':
                     21 (1) unpaid holdbacks in the aggregate amount of $333,834.41; and (2) outstanding
                     22 administrative and professional fees and anticipated fees and expenses through the
                     23
                     24
                            3
                     25          I have recovered an additional $42,655.50, such that I now have $562,989.50 in
                                 cash on-hand to cover my and my Professionals' administrative and professional
                     26          fees. Given the scope and complexity of the work that my Professionals and I
                                 performed from August 1, 2018 to present, I respectfully request that the reserve
                     27          amount be increased to $226,491.50 (from $186,500), so that a portion of the
                                 additional funds recovered may be used to compensate my Professionals and me
                     28          for work performed from August 1, 2018 through the termination of the instant
       LAW OFFICES
                                 receivership.
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                       Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                                -5-
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5679 Page 6 of 76



                      1 termination of the instant receivership, from the set-aside reserve amount of
                      2 $226,491.50. See Footnote 3.
                      3               8.    Attached hereto as Exhibit A are true and correct copies of my
                      4 invoices for the period from August 1, 2018 through December 31, 2019. I have
                      5 reviewed the Final Fee Applications, and believe the hourly rates charged were
                      6 appropriate, given the requirements of the instant receivership, that every effort was
                      7 made to have tasks completed at the lowest possible billing rate, and that the total
                      8 fees for which I seek authorization for payment are fair and reasonable. I likewise
                      9 believe that the Estate has benefited from the services identified.
                     10               9.    I have prepared a Standardized Fund Accounting Report, attached
                     11 hereto as Exhibit B, for the Estate of the Receivership Entities in accordance with
                     12 the Plaintiff Securities and Exchange Commission's (the "Commission") billing
                     13 requirements, summarizing my collections, disbursements, and financial activities
                     14 on behalf of the Receivership Entities and the Estate for the period from August 1,
                     15 2018 through December 31, 2019.
                     16               10.   I am required to submit appropriate tax returns for each calendar year
                     17 of the pendency of the receivership. Based on my discussions with my accounting
                     18 professionals, I will file the Qualified Settlement Fund returns for the Entities for the
                     19 2019 tax year on or before February 20, 2020. If there is a Final Distribution, I
                     20 anticipate submitting necessary and appropriate tax returns prior to, or
                     21 contemporaneously with, the closure of the receivership case, which shall be
                     22 promptly after the Final Distribution is completed or, in the event that such
                     23 distribution is not possible, after notice to the Court and a recommendation that the
                     24 receivership be terminated.
                     25               11.   I have obtained and reviewed hundreds of thousands of pages of
                     26 material relevant to the business and financial activities of the Receivership Entities,
                     27 in hard copy and digital form. Some of these documents contain private financial
                     28 information. I therefore request that, within ninety (90) days after the entry of an
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Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                      Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                               -6-
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5680 Page 7 of 76



                      1 order approving my recommendations in the Wind-Up Motion, I be authorized to
                      2 abandon any documents containing non-private information, and destroy any
                      3 documents containing private information, except for those records, if any, that are
                      4 necessary to the Final Distribution.
                      5               12.   In order to calculate my recommended initial distribution amount, I
                      6 previously proposed, in my Eighth Interim Report and Petition for Further
                      7 Instructions (ECF No. 246), setting aside a total of $520,334, reflecting the unpaid
                      8 holdbacks of approved fees via earlier applications, plus a reasonable estimate of the
                      9 aggregate administrative fees and expenses I and my professionals expect to incur in
                     10 administering the Estate from the date of the last Court-approved fee applications
                     11 through the termination of the receivership and my discharge and release.4 I
                     12 recommend that the Court authorize me to remit any unused or unapplied funds
                     13 remaining in this reserve at the time of the termination of the receivership to the
                     14 Commission.
                     15 \\\
                     16 \\\
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                     21 \\\
                     22 \\\
                     23 \\\
                     24 \\\
                     25
                     26     4
                                 See Footnote 3, reflecting the current cash on-hand balance of $562,989.50,
                     27          which includes additional recoveries of $42,655.50. I respectfully requests that
                                 the reserve to cover administrative and professional fees from August 1, 2018
                     28          through the termination of the instant receivership be increased to $226,491.50
       LAW OFFICES
                                 from $186,500.
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                     Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                               -7-
            Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5681 Page 8 of 76



                      1               13.   It may be some time before Private Placement Capital Notes II, LLC,
                      2 and its associated entities (collectively, "PPCN"), makes a payment to me in
                      3 accordance with the PPCN Settlement. Likewise, it is uncertain whether PPCN will
                      4 make all contemplated payments. Accordingly, and in order to best preserve limited
                      5 receivership resources and further limit the cost of administering the Estate, I
                      6 recommend that the Court accept my Final Report and reduce my reporting
                      7 obligations in connection with the instant receivership such that I shall only be
                      8 required to submit a written update only if I believe the Court's attention is needed
                      9 to facilitate the payment of the Final Distribution.
                     10               I declare under penalty of perjury under the laws of the State of California
                     11 that the foregoing is true and correct.
                     12
                     13               Executed this 23rd day of January, 2020, at Irvine, California.
                     14
                     15
                     16                                                              THOMAS A. SEAMAN
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                     25
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                     27
                     28
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Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                       Case No. 15-cv-226 BAS-RNB
                            1178776.01/LA                                -8-
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5682 Page 9 of 76




      Securities and Exchange Commission v. Total Wealth Management, Inc., et al.,
               USDC, SD of California, Case No. 3:15-cv-00226 BAS-MSB

                                             INDEX OF EXHIBITS

     Exhibit                                     Description                         Page

          A                     Detailed time slips for application period, month-     9
                                by-month basis, sorted alphabetically by task name
                                and by timekeeper

          B                     Standardized Fund Accounting Report for Total          72
                                Wealth Management – Cash Basis




   1195126.06/LA
   374747-00002/1-23-20/md/md
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5683 Page 10 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                         Hrs/Rate     Amount

           Accounting & Reporting

  8/1/2018 AJ     Accounting & Reporting                                                    0.20       42.00
                  Review emails from Tim, Tom, and Josh re report timing and dates to     210.00/hr
                  be covered. Receive direction from Tom re financial reports needed
                  by Friday.

  8/2/2018 AJ     Accounting & Reporting                                                    0.40       84.00
                  Confer with Tom re reports needed. Locate and print statements.         210.00/hr
                  Reconcile accounts.

  8/3/2018 AJ     Accounting & Reporting                                                    3.10      651.00
                  Direction to Kim re downloading documents from PACER. Finish            210.00/hr
                  account reconciliations. Make month end entries and run reports.
                  Review ruling on settlement funds and make entries. Call with Tom re
                  dates needed. Confer with Tim re same. Review emails. Call to Josh
                  and l/m re reports. Email to group the financials requested.

  8/6/2018 MRF Accounting & Reporting                                                       0.60       54.00
               Call with CPA re 2017 financials forwarded and items to include in          90.00/hr
               returns.

           AJ     Accounting & Reporting                                                    0.20       42.00
                  Prepare financial reports for Tom to review and finalize report.        210.00/hr

  8/7/2018 MRF Accounting & Reporting                                                       1.20      108.00
               Responded to email from CPA re various fund receipts in 2017.               90.00/hr
               Reviewed accounting and responded. Call with CPA re K-1s received,
               discrepancies, and proper handling for tax reporting.




                                                                                          Exhibit A - Page 9
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5684 Page 11 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount

   8/7/2018 AJ     Accounting & Reporting                                                       0.30             63.00
                   Prepare exhibits for report. Emails with Tom and Josh re same.             210.00/hr

            AJ     Accounting & Reporting                                                       0.30             63.00
                   Call with Tom and Josh re financials. Redo the financials and email        210.00/hr
                   same.

   8/8/2018 MRF Accounting & Reporting                                                          1.10             99.00
                Reviewed emails re K-1 tax issues and responded with documents to              90.00/hr
                CPA. Follow up calls to discuss asset valuations and distributions
                received pre/post Receiver along with tax implications.

  8/17/2018 MRF Accounting & Reporting                                                          0.90             81.00
                Call with CPA to discuss financials provided for 2017 receivership tax         90.00/hr
                return, asset write-downs, and prior year K-1s.

  8/20/2018 MRF Accounting & Reporting                                                          0.50             45.00
                Responded to email from CPA re tax questions on certain items for              90.00/hr
                the 2017 return.

  8/23/2018 MRF Accounting & Reporting                                                          0.30             27.00
                Follow up call with CPA re 2017 tax items.                                     90.00/hr

  8/24/2018 MRF Accounting & Reporting                                                          1.60         144.00
                Located fund administrator and sent request for missing prior year             90.00/hr
                K-1s. Forwarded response to CPA re same. Reviewed year-end
                asset values and determined which assets could be written off due to
                having already received the final distributions from the fund
                administrators.

  8/27/2018 MRF Accounting & Reporting                                                          0.70             63.00
                Call with CPA to discuss information received re prior year K-1s and           90.00/hr
                tax implications. Discussed appropriate asset write-offs, etc.

  8/31/2018 MRF Accounting & Reporting                                                          0.60             54.00
                Reviewed request from CPA re professional fees incurred for tax                90.00/hr
                reporting. Gathered information and responded accordingly.


            SUBTOTAL:                                                                    [     12.00        1,620.00]

            Investor Relations

   8/1/2018 KW     Investor Relations                                                           0.40             32.00
                   Phone calls with Chirico again with questions about updates.                80.00/hr

   8/3/2018 TM     Investor Relations                                                           0.10             16.50
                   Received email re items to post re Claims process.                         165.00/hr




                                                                                             Exhibit A - Page 10
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5685 Page 12 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                     Page       3

                                                                                           Hrs/Rate        Amount

   8/6/2018 KW    Investor Relations                                                          0.60             48.00
                  Phone calls with two claimants answering detailed update questions.        80.00/hr

            TM    Investor Relations                                                          1.50         247.50
                  Received email with items to post to website. Posted. Attempted to        165.00/hr
                  have entire pdf loaded onto page.

   8/7/2018 KW    Investor Relations                                                          1.80         144.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

            TM    Investor Relations                                                          1.60         264.00
                  Attempted different types of emails for attachments of motion             165.00/hr
                  documents. Sent email with links. Email to Diaz to ask Zaro if it is
                  acceptable. Received reply that she will check with Zaro re same.
                  Conference call with Tom, Alison and Zaro re same.

            AJ    Investor Relations                                                          0.10             21.00
                  Review email from investor and forward to Tom for response.               210.00/hr

            AJ    Investor Relations                                                          0.70         147.00
                  Call with Tom, Tim, and David Zaro re mailing notice to claimants.        210.00/hr
                  Discuss with Kim and provide direction re same. Emails with additional
                  info.

   8/8/2018 KW    Investor Relations                                                          2.80         224.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions. Had to find and evaluate claim left off of excel.

            AJ    Investor Relations                                                          0.40             84.00
                  Review emails re investors with questions on claim calculation, etc.      210.00/hr
                  Calls with Kim and Tom re same. Give Kim direction on responses,
                  etc. Follow up with Kim re investor notice mailing.

   8/9/2018 KW    Investor Relations                                                          0.70             56.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

            TM    Investor Relations                                                          1.80         297.00
                  Received items to post to TWM website and posted. Email to                165.00/hr
                  subscribers, email to group.

  8/10/2018 KW    Investor Relations                                                          0.40             32.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

  8/13/2018 KW    Investor Relations                                                          1.50         120.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.

  8/14/2018 KW    Investor Relations                                                          0.70             56.00
                  Phone calls and returned emails of claimants answering detailed            80.00/hr
                  update questions.




                                                                                           Exhibit A - Page 11
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5686 Page 13 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       4

                                                                                             Hrs/Rate        Amount


  8/14/2018 AJ    Investor Relations                                                            0.60         126.00
                  Review investor messages, confer with Kim re same.                          210.00/hr

  8/15/2018 KW    Investor Relations                                                            1.90         152.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

            AJ    Investor Relations                                                            0.90         189.00
                  Review messages and confer with Kim re corrections to claims, etc.          210.00/hr
                  Review claims detail and search records for additional info related to
                  claim adjustment. Direct Kim re same.

  8/16/2018 AJ    Investor Relations                                                            0.10             21.00
                  Review message from claimant and consider.                                  210.00/hr

            TM    Investor Relations                                                            1.50         247.50
                  Posted recent report to Court and edited previous post to fix link. Sent    165.00/hr
                  emails to subscribers.

  8/17/2018 TM    Investor Relations                                                            0.10             16.50
                  Email from Diaz re investor needing address change.                         165.00/hr

  8/20/2018 KW    Investor Relations                                                            0.70             56.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

            AJ    Investor Relations                                                            0.40             84.00
                  Review message from investor forwarded from Allen Matkins. Send to          210.00/hr
                  Kim to respond. Confer with Kim re issues with mailing, and give
                  direction on sending letter via overnight mail. Review email from Tom
                  inquiring about delivery issue.

  8/21/2018 KW    Investor Relations                                                            0.60             48.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

  8/22/2018 KW    Investor Relations                                                            1.20             96.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

  8/23/2018 KW    Investor Relations                                                            0.40             32.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

  8/27/2018 KW    Investor Relations                                                            0.60             48.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

  8/28/2018 KW    Investor Relations                                                            0.50             40.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.




                                                                                             Exhibit A - Page 12
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5687 Page 14 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       5

                                                                                               Hrs/Rate        Amount


  8/28/2018 AJ    Investor Relations                                                              0.40             84.00
                  Review emails from investors. Review email from Josh re opposition            210.00/hr
                  to Receivers motion. Confer with Tom re same. Review Josh's
                  response to same.

  8/29/2018 AJ    Investor Relations                                                              0.20             42.00
                  Confer with Tom and advise re additional claims that need to be               210.00/hr
                  corrected.

  8/30/2018 AJ    Investor Relations                                                              0.10             21.00
                  Review and forward email to Kim for updating address.                         210.00/hr


            SUBTOTAL:                                                                      [     25.30        3,092.00]

            Project Management

  8/13/2018 TM    Project Management                                                              1.00         165.00
                  Downloaded PACER documents re case and searched for info related              165.00/hr
                  to fee apps and reports.

  8/14/2018 DC    Project Management                                                              0.10             16.00
                  Reviewed information from Tim McDonnell regarding SFAR and                    160.00/hr
                  looked up data in prior report.

  8/16/2018 AJ    Project Management                                                              0.10             21.00
                  Review message from Tim re report posting. Review email from Josh             210.00/hr
                  re hearing taken off calendar.

  8/20/2018 AJ    Project Management                                                              0.20             42.00
                  Call with Tom re hearing in SD. Advise that it was taken off calendar.        210.00/hr
                  Review and forward email from Josh re same.

  8/22/2018 TM    Project Management                                                              0.10             16.50
                  Downloaded document from PACER.                                               165.00/hr


            SUBTOTAL:                                                                      [      1.50         260.50]

            Receiver

   8/7/2018 TAS   Receiver                                                                        0.40         108.00
                  Meeting with Tim and David Zaro and Alison re extra notice to                 270.00/hr
                  claimants whose claim re are disputing.

  8/18/2018 TAS   Receiver                                                                        0.60         162.00
                  Telephone call with Frank Scollan re PPCN and Hartmann retrade,               270.00/hr
                  latest counter, review and telephone call with Frank re response.




                                                                                               Exhibit A - Page 13
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5688 Page 15 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                 Page       6

                                                                                       Hrs/Rate        Amount

  8/23/2018 TAS   Receiver                                                                0.30             81.00
                  Receive request from SEC re PPCN demand, retrieve and forward.        270.00/hr


            SUBTOTAL:                                                              [      1.30         351.00]

            Receivership Administration

   8/3/2018 KW    Receivership Administration                                             1.80         144.00
                  Downloading and saving documents from Pacer.                           80.00/hr


            SUBTOTAL:                                                              [      1.80         144.00]

            For professional services rendered                                           41.90       $5,467.50


            Balance due                                                                              $5,467.50




                                                                                       Exhibit A - Page 14
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5689 Page 16 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                             Hrs/Rate      Amount

           Accounting & Reporting

  8/1/2018 TM     Accounting & Reporting                                                        0.20    NO CHARGE
                  Direction from Tom re fee app for TWM. Started checking timeslips.          165.00/hr
                  Email to group re upcoming fee app and dates.

  8/3/2018 TM     Accounting & Reporting                                                        0.60    NO CHARGE
                  Put together initial spreadsheet for Tom's review of 18-month period        165.00/hr
                  for upcoming fee app.

 8/10/2018 TM     Accounting & Reporting                                                        2.30    NO CHARGE
                  Entered timeslips info into narrative of upcoming fee app. Email to         165.00/hr
                  Tom.

 8/13/2018 TM     Accounting & Reporting                                                        1.00    NO CHARGE
                  Entered timeslip info into narrative. Researched SFAR info.                 165.00/hr

 8/14/2018 TM     Accounting & Reporting                                                        2.40    NO CHARGE
                  Entered timeslip info into fee app. Made exhibits for Tom and gave          165.00/hr
                  to him. Email from attorney and Tom re making exhibits for fee app.

 8/15/2018 TM     Accounting & Reporting                                                        0.10    NO CHARGE
                  Questions from Tom re Total Wealth app. Replied re same.                    165.00/hr

 8/16/2018 TM     Accounting & Reporting                                                        1.30    NO CHARGE
                  Made exhibits for fee app. Emails to and from Matthew re fee app            165.00/hr
                  for Crowe.


           SUBTOTAL:                                                                     [      7.90          0.00]




                                                                                               Exhibit A - Page 15
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5690 Page 17 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                       Page       2

                                                                  Hours       Amount
            For professional services rendered                     7.90          $0.00


            Balance due                                                          $0.00




                                                                  Exhibit A - Page 16
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5691 Page 18 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                             Hrs/Rate     Amount

           Accounting & Reporting

 9/13/2018 MRF Accounting & Reporting                                                           0.30       27.00
               Call with CPA re progress with tax returns.                                     90.00/hr

 9/28/2018 MRF Accounting & Reporting                                                           0.30       27.00
               Reviewed vendor invoices and processed accounts payable.                        90.00/hr


           SUBTOTAL:                                                                     [      0.60       54.00]

           Investor Relations

  9/4/2018 AJ     Investor Relations                                                            0.30       63.00
                  Review correspondence from claimants, confer with Kim re same.              210.00/hr

  9/5/2018 AJ     Investor Relations                                                            0.20       42.00
                  Review email from Tom regarding claims modification. Respond to             210.00/hr
                  same.

           AJ     Investor Relations                                                            0.40       84.00
                  Confer with Kim re info needed on claims to be modified. Review info        210.00/hr
                  and give direction.

           AJ     Investor Relations                                                            0.20       42.00
                  Review email from Josh related to claims motion, and respond to             210.00/hr
                  same.

  9/6/2018 KW     Investor Relations                                                            2.70      216.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Investigating last minute possible objections.




                                                                                             Exhibit A - Page 17
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5692 Page 19 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                      Page       2

                                                                                            Hrs/Rate        Amount


   9/6/2018 AJ    Investor Relations                                                           1.40         294.00
                  Review claims to be changed and confer with Kim re same. Prepare           210.00/hr
                  updated worksheet with modified claims. Call with Josh to discuss
                  format, etc. Revise the report, finalize and email to Josh to review.

   9/7/2018 KW    Investor Relations                                                           1.80         144.00
                  Phone calls and returned emails of claimants answering detailed             80.00/hr
                  update questions. Investigating last minute possible objections.

            AJ    Investor Relations                                                           0.10             21.00
                  Email investor communication to Kim for response.                          210.00/hr

  9/10/2018 TM    Investor Relations                                                           1.20         198.00
                  Email from Diaz re item to post to website. Downloaded and saved,          165.00/hr
                  made narrative. Gave to Kimberley with instructions. Made
                  spreadsheet of all contacts for her to cross-reference and emial to the
                  Receiver's Reply Re Claims and Objections. Posted to website.
                  Checked link. Made email and sent to subscribers. Sent email to
                  group re same re yesterday's posting and emailing of Receiver's Reply.

            KW    Investor Relations                                                           2.50         200.00
                  Phone calls and returned emails of claimants answering detailed             80.00/hr
                  update questions. Working on getting out the latest update to those
                  not on the email update list.

  9/11/2018 KW    Investor Relations                                                           2.80         224.00
                  Phone calls and returned emails of claimants answering detailed             80.00/hr
                  update questions. Working on getting out the latest update to those
                  not on the email update list.

  9/12/2018 KW    Investor Relations                                                           3.50         280.00
                  Phone calls and returned emails of claimants answering detailed             80.00/hr
                  update questions. Working on getting out the latest update to those
                  not on the email update list.

  9/13/2018 KW    Investor Relations                                                           1.30         104.00
                  Phone calls and returned emails of claimants answering detailed             80.00/hr
                  update questions. Investigating last minute possible objections.

  9/14/2018 KW    Investor Relations                                                           0.60             48.00
                  Phone calls and returned emails of claimants answering detailed             80.00/hr
                  update questions. Investigating last minute possible objections.

  9/17/2018 KW    Investor Relations                                                           1.70         136.00
                  Many phone calls and returned emails of claimants answering detailed        80.00/hr
                  update questions. Quick investigating last minute possible objections.




                                                                                            Exhibit A - Page 18
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5693 Page 20 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       3

                                                                                               Hrs/Rate        Amount

  9/17/2018 TM    Investor Relations                                                              0.10             16.50
                  Call from Alison re need for update to website.                               165.00/hr

  9/18/2018 KW    Investor Relations                                                              0.80             64.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions. Quick investigating last minute possible objections.

  9/20/2018 KW    Investor Relations                                                              0.30             24.00
                  Phone conversation with Peter Chirico.                                         80.00/hr

  9/21/2018 TM    Investor Relations                                                              1.00         165.00
                  Posted update to Total Wealth website and sent out email.                     165.00/hr

  9/26/2018 KW    Investor Relations                                                              0.80             64.00
                  Email and a bit of research for Kimberly A McKinney.                           80.00/hr


            SUBTOTAL:                                                                      [     23.70        2,429.50]

            Project Management

   9/7/2018 AJ    Project Management                                                              0.10             21.00
                  Review email from IRA custodian and forward to Tom for response.              210.00/hr

  9/25/2018 AJ    Project Management                                                              0.10             21.00
                  Review emails from Matt and Kim re vendor bill for notice mailing.            210.00/hr


            SUBTOTAL:                                                                      [      0.20             42.00]

            Receiver

  9/28/2018 TAS   Receiver                                                                        0.30             81.00
                  Telephone call with David Zaro re SEC complaint against PPCN,                 270.00/hr
                  email Frank re settlement.


            SUBTOTAL:                                                                      [      0.30             81.00]

            For professional services rendered                                                   24.80       $2,606.50


            Balance due                                                                                      $2,606.50




                                                                                               Exhibit A - Page 19
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5694 Page 21 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate     Amount

           Accounting & Reporting

10/11/2018 MRF Accounting & Reporting                                                            0.30       27.00
               Call with CPA re status of tax returns.                                          90.00/hr

10/15/2018 MRF Accounting & Reporting                                                            1.20      108.00
               Met with Receiver to execute tax returns, saved digital copies on                90.00/hr
               server, and gave instructions to Bonnie Carver re certified mailing of
               returns.

10/24/2018 AJ     Accounting & Reporting                                                         0.20       42.00
                  Call from taxing authority in UT. Looked up tax bills and confer with        210.00/hr
                  Kim re claims sent/ filed, etc. Called and left a message.

           AJ     Accounting & Reporting                                                         0.80      168.00
                  Call with UT tax person re claim form received. Advised that bar date        210.00/hr
                  has passed. Reviewed notices, and discussed the last return filed and
                  reconciliation needed, letter, etc.


           SUBTOTAL:                                                                      [      2.50      345.00]

           Investor Relations

 10/1/2018 KW     Investor Relations                                                             0.60       48.00
                  Ensuring all addresses are up to date on the correct excel.                   80.00/hr

 10/2/2018 AJ     Investor Relations                                                             0.30       63.00
                  Confer with Heidi re investor to see Tom. Confer with Tom re same.           210.00/hr
                  Look up info and call with Tom and Josh re same. Email Josh re




                                                                                              Exhibit A - Page 20
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5695 Page 22 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount

                  findings on condo that was sold.

  10/2/2018 AJ    Investor Relations                                                            0.50         105.00
                  Call from Tom and receive direction to look into property sales by          210.00/hr
                  Cooper. Log in and review title history for both Cooper properties.
                  Create file and save info.

            KW    Investor Relations                                                            1.30         104.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions. Investigating last minute possible objections.

  10/4/2018 KW    Investor Relations                                                            1.60         128.00
                  Dealing with Mark Parsons Claim.                                             80.00/hr

  10/5/2018 AJ    Investor Relations                                                            0.60         126.00
                  Review email from investor and confer with Kim re same. Provide             210.00/hr
                  instruction re researching claim, etc. Review results and discuss.

  10/8/2018 KW    Investor Relations                                                            1.10             88.00
                  Dealing with Mark Parsons Claim, and other investor inquiries.               80.00/hr

  10/9/2018 KW    Investor Relations                                                            0.80             64.00
                  Dealing with Mark Parsons Claim, and other investor inquiries.               80.00/hr

 10/19/2018 KW    Investor Relations                                                            0.70             56.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.

            AJ    Investor Relations                                                            0.20             42.00
                  Review emails from investors and forward to Kim for response.               210.00/hr

 10/22/2018 AJ    Investor Relations                                                            0.20             42.00
                  Review email from IRA custodian. Confer with Kim re same.                   210.00/hr

 10/29/2018 TM    Investor Relations                                                            0.30             49.50
                  Email from Diaz with fee apps to post to website. Saved items to            165.00/hr
                  pubdocs.

 10/30/2018 KW    Investor Relations                                                            2.60         208.00
                  Looking into Chris and Ann Lee's claims and long discussion with             80.00/hr
                  investor that came in with questions about Tony Hartman and PPCN.

            AJ    Investor Relations                                                            0.40             84.00
                  Confer with Kim re investor inquiry. Provide instruction and discuss        210.00/hr
                  findings.

 10/31/2018 KW    Investor Relations                                                            0.70             56.00
                  Phone calls and returned emails of claimants answering detailed              80.00/hr
                  update questions.


            SUBTOTAL:                                                                    [     11.90        1,263.50]




                                                                                             Exhibit A - Page 21
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5696 Page 23 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       3

                                                                                                Hrs/Rate        Amount

            Project Management

 10/25/2018 AJ    Project Management                                                               0.20             42.00
                  Review email from Josh and review declaration. Call with Tom re                210.00/hr
                  same. Send signed declaration to Josh for filing.

 10/29/2018 AJ    Project Management                                                               0.40             84.00
                  Review email from Martha with items filed and to be posted to                  210.00/hr
                  website. Review attachments.

 10/31/2018 AJ    Project Management                                                               2.40         504.00
                  Review email from Tom related to TWM subpoena. Review files and                210.00/hr
                  run search for the audio files. Confer with Darren re radio show files,
                  review email re same. Set up folder in dropbox and load files. Finalize
                  and email link to Tom for use by attorney to review the subpoenaed
                  records.


            SUBTOTAL:                                                                       [      3.00         630.00]

            Receiver

  10/4/2018 TAS   Receiver                                                                         0.40         108.00
                  Meet with concerned investor re claims questions, PPCN.                        270.00/hr

 10/11/2018 TAS   Receiver                                                                         0.30             81.00
                  Place excess cash in treasury securities.                                      270.00/hr

 10/31/2018 TAS   Receiver                                                                         0.20             54.00
                  Receive inquiry from AUSA re radio recordings, direct and confer with          270.00/hr
                  Alison re same, follow up and complete.


            SUBTOTAL:                                                                       [      0.90         243.00]

            Receivership Administration

 10/15/2018 BC    Receivership Administration                                                      0.50             30.00
                  Prepared Certified mail for tax returns.                                        60.00/hr

 10/24/2018 BC    Receivership Administration                                                      0.50             30.00
                  Prepared Certified mail for tax returns.                                        60.00/hr


            SUBTOTAL:                                                                       [      1.00             60.00]

            For professional services rendered                                                    19.30       $2,541.50


            Balance due                                                                                       $2,541.50




                                                                                                Exhibit A - Page 22
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5697 Page 24 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate      Amount

           Accounting & Reporting

10/22/2018 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Calls from Tom re SFAR for fee app. Made into pdf and sent to del        165.00/hr
                  Castillo.


           SUBTOTAL:                                                                  [      0.10          0.00]

           For professional services rendered                                                0.10         $0.00


           Balance due                                                                                    $0.00




                                                                                            Exhibit A - Page 23
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5698 Page 25 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate     Amount

           Investor Relations

 11/2/2018 AJ     Investor Relations                                                             0.40       84.00
                  Call with investor and review claim.                                         210.00/hr

11/13/2018 AJ     Investor Relations                                                             0.30       63.00
                  Review claims to be added/ adjusted. Draft email to Tom and Josh re          210.00/hr
                  same. Confer with Kim re details and give direction re same.

11/14/2018 KW     Investor Relations                                                             1.30      104.00
                  Evaluating Mark Parsons claim. Spoke with him on the phone to clarify         80.00/hr
                  claim.

           AJ     Investor Relations                                                             0.50      105.00
                  Review Parsons claim, confer with Kim re same.                               210.00/hr

11/26/2018 AJ     Investor Relations                                                             1.00      210.00
                  Confer with Kim re claim additions. Review email from Josh re                210.00/hr
                  motions and figure needed. Call with Josh and follow up with email
                  details on claims revisions.

11/28/2018 KW     Investor Relations                                                             0.70       56.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.


           SUBTOTAL:                                                                      [      4.20      622.00]




                                                                                              Exhibit A - Page 24
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5699 Page 26 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                          Page       2

                                                                                Hrs/Rate        Amount

            Project Management

 11/26/2018 DC    Project Management                                               0.10             16.00
                  Received email from counsel re distribution; responded.        160.00/hr


            SUBTOTAL:                                                       [      0.10             16.00]

            For professional services rendered                                     4.30        $638.00


            Balance due                                                                        $638.00




                                                                                Exhibit A - Page 25
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5700 Page 27 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate     Amount

           Accounting & Reporting

 12/4/2018 MRF Accounting & Reporting                                                        0.80       72.00
               Reviewed vendor invoices and processed accounts payable. Met with            90.00/hr
               Thomas Seaman for approval and gave instructions to Bonnie Carver
               re sending payments. Conferred with broker re treasury investments
               on matured accounts and discussed cash needs with Receiver.

12/21/2018 MRF Accounting & Reporting                                                        0.30       27.00
               Deposited payment received and updated accounting.                           90.00/hr

12/27/2018 MRF Accounting & Reporting                                                        0.30       27.00
               Reviewed tax notices received from FTB and compared to return.               90.00/hr


           SUBTOTAL:                                                                  [      1.40      126.00]

           Investor Relations

 12/4/2018 AJ     Investor Relations                                                         0.30       63.00
                   Confer with Kim re inquiries from investors, review emails, etc.        210.00/hr

           KW     Investor Relations                                                         2.50      200.00
                  Phone calls and returned emails of claimants answering detailed           80.00/hr
                  update questions.

 12/5/2018 KW     Investor Relations                                                         0.40       32.00
                  Phone calls and returned emails of claimants answering detailed           80.00/hr
                  update questions.




                                                                                          Exhibit A - Page 26
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5701 Page 28 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                              Hrs/Rate        Amount


  12/7/2018 KW    Investor Relations                                                             0.10              8.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             0.10             21.00
                  Review email from investor and consider.                                     210.00/hr

 12/19/2018 KW    Investor Relations                                                             0.30             24.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

 12/26/2018 AJ    Investor Relations                                                             0.10             21.00
                  Review email from Josh with status update.                                   210.00/hr

 12/28/2018 KW    Investor Relations                                                             0.30             24.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.


            SUBTOTAL:                                                                     [      4.10         393.00]

            Project Management

  12/4/2018 AJ    Project Management                                                             0.20             42.00
                  Review email from Josh re fee applications and distribution motion,          210.00/hr
                  confer with Tom re same. Send order to Matt.


            SUBTOTAL:                                                                     [      0.20             42.00]

            Receiver

  12/4/2018 TAS   Receiver                                                                       0.60         162.00
                  Review Total Wealth invoice from Crowe, note billing issues, and send        270.00/hr
                  email re objections to same.

            TAS   Receiver                                                                       0.30             81.00
                  Treasury management direct re T-bill sale, liquidity.                        270.00/hr


            SUBTOTAL:                                                                     [      0.90         243.00]

            For professional services rendered                                                   6.60        $804.00


            Balance due                                                                                      $804.00




                                                                                              Exhibit A - Page 27
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5702 Page 29 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                 Hrs/Rate     Amount

           Accounting & Reporting

 1/15/2019 MRF Accounting & Reporting                                               0.20       18.00
               Call with broker re cash available to invest in treasuries.         90.00/hr

 1/17/2019 MRF Accounting & Reporting                                               0.70       63.00
               Preliminary discussion with CPA re 2018 return and documents        90.00/hr
               needed. Reviewed file.

 1/21/2019 MRF Accounting & Reporting                                               0.40       36.00
               Follow up call with CPA re 2018 tax items for upcoming return       90.00/hr
               preparation.

 1/23/2019 AJ     Accounting & Reporting                                            0.10       21.00
                  Received direction from Tom re reports needed.                  210.00/hr

           AJ     Accounting & Reporting                                            0.30       63.00
                  Reconcile bank accounts, run and save reports requested.        210.00/hr

 1/25/2019 MRF Accounting & Reporting                                               0.50       45.00
               Updated accounting with year-end interest income. Ran 12/31/18      90.00/hr
               financial statements and provided to Receiver.

           MRF Accounting & Reporting                                               0.70       63.00
               Reviewed vendor 1099 info and requested missing W9s. Input          90.00/hr
               information to accounting and printed the 2018 1096/1099s. Gave
               instructions to Bonnie Carver re mailing same.

 1/29/2019 MRF Accounting & Reporting                                               1.40      126.00
               Gathered 2018 financial statements and forwarded to CPA with        90.00/hr
               various info re fund receipts.




                                                                                 Exhibit A - Page 28
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5703 Page 30 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       2

                                                                                               Hrs/Rate        Amount



            SUBTOTAL:                                                                      [      4.30         435.00]

            Investor Relations

  1/15/2019 KW    Investor Relations                                                              0.30             24.00
                  Phone calls and returned emails of claimants answering detailed                80.00/hr
                  update questions.

  1/28/2019 AJ    Investor Relations                                                              1.30         273.00
                  Confer with Tom re finalizing the case, review final costs and                210.00/hr
                  expenses for reserve. Confer with Kim re final claims and revisions.
                  Work on finalizing all.

            KW    Investor Relations                                                              2.10         168.00
                  Correcting investor information on excel for exhibits.                         80.00/hr


            SUBTOTAL:                                                                      [      3.70         465.00]

            Project Management

  1/23/2019 AJ    Project Management                                                              0.20             42.00
                  Call with Tom re Total Wealth closing case, distribution plan, etc.           210.00/hr

  1/30/2019 TM    Project Management                                                              2.00         330.00
                  Downloaded PACER documents.                                                   165.00/hr


            SUBTOTAL:                                                                      [      2.20         372.00]

            Receiver

  1/17/2019 TAS   Receiver                                                                        0.30             81.00
                  Confer with Matt and calls with Mark at Wells re treasury management          270.00/hr
                  and maturing securities.

  1/21/2019 TAS   Receiver                                                                        0.30             81.00
                  Confer with Matt re Crowe Horwath bill.                                       270.00/hr

  1/23/2019 TAS   Receiver                                                                        0.50         135.00
                  Telephone call with Josh re closing process, revise same. Telephone           270.00/hr
                  call with Crowe Howarth re same.

            TAS   Receiver                                                                        0.50         135.00
                  Review Crowe Horwath draft bill, note unacceptable entries,                   270.00/hr
                  summarize same, Telephone call with Chad Coombs re same.

  1/28/2019 TAS   Receiver                                                                        1.90         513.00
                  Work on distribution motion and report, calculate reserves, calls with        270.00/hr
                  Josh re same.




                                                                                               Exhibit A - Page 29
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5704 Page 31 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                      Page       3

                                                                                            Hrs/Rate        Amount


  1/28/2019 TAS   Receiver                                                                     1.10         297.00
                  Consider cash balance and reserve needs. Telephone call with Josh          270.00/hr
                  re same, review and analyze Crowe bill. Telephone call with Chad re
                  areas requiring review, calculate preliminary reserves.


            SUBTOTAL:                                                                   [      4.60        1,242.00]

            Receivership Administration

  1/31/2019 BC    Receivership Administration                                                  0.30             18.00
                  Prepared mailing of 1099 forms.                                             60.00/hr


            SUBTOTAL:                                                                   [      0.30             18.00]

            For professional services rendered                                                15.10       $2,532.00


            Balance due                                                                                   $2,532.00




                                                                                            Exhibit A - Page 30
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5705 Page 32 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                 Hrs/Rate      Amount

           Accounting & Reporting

 1/28/2019 TM     Accounting & Reporting                            1.00    NO CHARGE
                  Project for Tom re fee app upcoming.            165.00/hr


           SUBTOTAL:                                         [      1.00          0.00]

           For professional services rendered                       1.00         $0.00


           Balance due                                                           $0.00




                                                                   Exhibit A - Page 31
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5706 Page 33 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate     Amount

           Accounting & Reporting

  2/1/2019 MRF Accounting & Reporting                                                            0.40       36.00
               Responded to email from CPA re 2018 financial statements.                        90.00/hr

  2/4/2019 AJ     Accounting & Reporting                                                         0.30       63.00
                  Reconcile the bank accounts and provide info to Tom as requested.            210.00/hr

 2/26/2019 MRF Accounting & Reporting                                                            0.60       54.00
               Reviewed emails from CPA re 2018 tax return progress. Forwarded                  90.00/hr
               information requested and saved files received on server.


           SUBTOTAL:                                                                      [      1.30      153.00]

           Investor Relations

  2/4/2019 KW     Investor Relations                                                             0.50       40.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

           AJ     Investor Relations                                                             2.20      462.00
                  Work on final claims report and exhibits, etc. Call with Tom and Josh        210.00/hr
                  re details re same. Email complete exhibit to all.

  2/5/2019 AJ     Investor Relations                                                             0.20       42.00
                  Confer with Kim recent investor communications and provide                   210.00/hr
                  instruction on responses.




                                                                                              Exhibit A - Page 32
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5707 Page 34 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       2

                                                                                              Hrs/Rate        Amount

  2/11/2019 TM    Investor Relations                                                             1.20         198.00
                  Call from Tom re items to post on Total Wealth website. Email from           165.00/hr
                  attorneys with items. Prepared items for posting and posted. Sent
                  emails to subscribers in two separate posts. Email to group re same.

            AJ    Investor Relations                                                             0.50         105.00
                  Review email from Allen Matkins with filed docs. Review emails from          210.00/hr
                  investors in response to distribution notices sent out. Confer with Kim
                  re responses to same.

            KW    Investor Relations                                                             0.60             48.00
                  Phone call with Peter Chirico.                                                80.00/hr

  2/12/2019 KW    Investor Relations                                                             0.40             32.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             0.60         126.00
                  Confer with Kim re investors questions. Search for info on criminal          210.00/hr
                  case outcome. Review and discuss case status with Tom. Email Tom
                  link to story on restitution.

  2/13/2019 AJ    Investor Relations                                                             0.30             63.00
                  Review investor messages and correspondence.                                 210.00/hr

  2/19/2019 KW    Investor Relations                                                             0.20             16.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             0.60         126.00
                  Review multiple emails from Tom and Josh related to Cooper                   210.00/hr
                  settlement and the investors that are receiving restitution. Confer with
                  Kim re same.

  2/20/2019 KW    Investor Relations                                                             1.00             80.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions (.4). Investigated those who received money from
                  Cooper (.6)

            AJ    Investor Relations                                                             0.70         147.00
                  Emails with Allen Matkins re distribution revisions. Confer with Kim re      210.00/hr
                  investor responses. Review list of restitution victims, give direction to
                  Kim re same.

  2/21/2019 KW    Investor Relations                                                             0.70             56.00
                  Phone calls and returned emails of claimants answering detailed               80.00/hr
                  update questions.

            AJ    Investor Relations                                                             2.30         483.00
                  Review motion from Josh re distribution amendment. Work on revising          210.00/hr
                  the distribution amounts excluding the restitution recipients. Confer




                                                                                              Exhibit A - Page 33
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5708 Page 35 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       3

                                                                                              Hrs/Rate        Amount

                  with Tom re same. Revise again and prepare for Tom's final review.

  2/22/2019 AJ    Investor Relations                                                             0.50         105.00
                  Confer with Tom re final revised distribution numbers and receive            210.00/hr
                  approval. Finalize reports and email to Josh for filing.

  2/25/2019 AJ    Investor Relations                                                             0.30             63.00
                  Review email from Josh re TWM filing, call with Tom re same. Print           210.00/hr
                  docs for Tom to review.

  2/26/2019 AJ    Investor Relations                                                             0.20             42.00
                  Review email from Josh with proposed motion to revise distribution.          210.00/hr
                  Review docs and confer with Tom re same.


            SUBTOTAL:                                                                     [     13.00        2,234.00]

            Project Management

   2/4/2019 AJ    Project Management                                                             0.30             63.00
                  Review distribution motion emails from Josh and confer with Tom re           210.00/hr
                  same.

   2/7/2019 TM    Project Management                                                             0.10             16.50
                  Email from Tom re final report. Read through, minor changes. Saved.          165.00/hr

            AJ    Project Management                                                             0.30             63.00
                  Review email from Josh re filing. Confer with Tom re same.                   210.00/hr

  2/24/2019 DC    Project Management                                                             0.80         128.00
                  Came to office to inventory stored files and data for inventory              160.00/hr
                  purposes prior to move to storage.


            SUBTOTAL:                                                                     [      1.50         270.50]

            Receiver

   2/4/2019 TAS   Receiver                                                                       3.30         891.00
                  Review draft report and motion to make distribution, update                  270.00/hr
                  accounting through 1/31, calculate reserve requirements, calls and
                  emails with counsel and Crowe re same, calculate distribution, confer
                  re additional bona fide claim, subordination of non-investor claims,
                  revise narrative in motion, prepare narrative report, prepare SFAR,
                  prepare exhibit, forward red line to counsel, calls re same.

  2/14/2019 TAS   Receiver                                                                       0.40         108.00
                  Email prosecutor Zipp re questions re purported restitution payments         270.00/hr
                  by defendant Cooper.

  2/21/2019 TAS   Receiver                                                                       0.50         135.00
                  Confer with Alison re reducing distributions of claimants receiving          270.00/hr
                  restitution, direct re methodology and keeping those claimants




                                                                                              Exhibit A - Page 34
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5709 Page 36 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       4

                                                                                             Hrs/Rate        Amount

                  payments static and re pro rating balance over unaffected investors.

  2/22/2019 TAS   Receiver                                                                      0.60         162.00
                  Review draft calculations re apportionment of distribution check            270.00/hr
                  numbers and test, approve.

  2/26/2019 TAS   Receiver                                                                      0.30             81.00
                  Review and approve declaration re claims adjustments re restitution         270.00/hr
                  payment if made.


            SUBTOTAL:                                                                    [      5.10        1,377.00]

            Receivership Administration

  2/14/2019 AJ    Receivership Administration                                                   0.30             63.00
                  Work on organizing records, documents and files. Direction to Bonnie        210.00/hr
                  re same.


            SUBTOTAL:                                                                    [      0.30             63.00]

            For professional services rendered                                                 21.20       $4,097.50


            Balance due                                                                                    $4,097.50




                                                                                             Exhibit A - Page 35
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5710 Page 37 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                       Hrs/Rate     Amount

           Accounting & Reporting

 3/15/2019 MRF Accounting & Reporting                                                     0.40       36.00
               Reviewed vendor invoices and processed accounts payable. Met with         90.00/hr
               Thomas Seaman for approval of payments and gave instructions to
               Bonnie Carver re mailing checks. Reviewed K-1 received and
               forwarded to CPA.


           SUBTOTAL:                                                               [      0.40       36.00]

           Investor Relations

  3/7/2019 AJ     Investor Relations                                                      0.20       42.00
                  Review Kipperman response and email from / to Josh re same.           210.00/hr

 3/11/2019 KW     Investor Relations                                                      0.60       48.00
                  Phone call with Peter Chirico.                                         80.00/hr

 3/13/2019 AJ     Investor Relations                                                      0.10       21.00
                  Review message from claimant. Forward to Kim for response.            210.00/hr

 3/14/2019 AJ     Investor Relations                                                      0.10       21.00
                  Review correspondence from investors and forward to Kim for           210.00/hr
                  response.




                                                                                       Exhibit A - Page 36
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5711 Page 38 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount

  3/15/2019 KW    Investor Relations                                                            0.70             56.00
                  Phone call with Peter Chirico.                                               80.00/hr

  3/18/2019 KW    Investor Relations                                                            1.40         112.00
                  Phone call with Peter Chirico. Discussing case with Alison Juroe.            80.00/hr
                  Saving documents from PACER.

  3/19/2019 KW    Investor Relations                                                            0.60             48.00
                  Returning phone calls from investors.                                        80.00/hr

            TM    Investor Relations                                                            1.20         198.00
                  Email from Diaz with items to post to website. Prepared for posting.        165.00/hr
                  Email to Diaz re date of hearing question.

  3/20/2019 KW    Investor Relations                                                            0.20             16.00
                  Returning phone calls from investors.                                        80.00/hr

  3/21/2019 KW    Investor Relations                                                            0.50             40.00
                  Phone call with Peter Chirico.                                               80.00/hr

  3/25/2019 AJ    Investor Relations                                                            0.10             21.00
                  Confer with Kim re investor calls and appropriate responses.                210.00/hr


            SUBTOTAL:                                                                    [      5.70         623.00]

            Project Management

   3/8/2019 AJ    Project Management                                                            0.10             21.00
                  Confer with Tom re hearing date on distribution.                            210.00/hr

  3/11/2019 DC    Project Management                                                            1.00         160.00
                  Reviewed boxed files and discovery boxes to confirm all for Total           160.00/hr
                  Wealth; moved to offsite storage and inventoried.

  3/18/2019 AJ    Project Management                                                            0.20             42.00
                  Confer with Kim re distribution hearing, direct re PACER docs.              210.00/hr

            AJ    Project Management                                                            0.10             21.00
                  Confer with Tom re hearing.                                                 210.00/hr

            AJ    Project Management                                                            0.20             42.00
                  Call with Tom re TWM, hearing taken off calendar, etc.                      210.00/hr


            SUBTOTAL:                                                                    [      1.60         286.00]

            Receiver

  3/20/2019 TAS   Receiver                                                                      0.30             81.00
                  Review PPCM settlement document changes, leave voice mail for               270.00/hr
                  Frank Scollan re same.




                                                                                             Exhibit A - Page 37
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5712 Page 39 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                             Page       3

                                                                   Hrs/Rate        Amount



            SUBTOTAL:                                          [      0.30             81.00]

            Receivership Administration

  3/15/2019 BC    Receivership Administration                         0.20             12.00
                  Prepared checks for mailing to creditors.          60.00/hr


            SUBTOTAL:                                          [      0.20             12.00]

            For professional services rendered                        8.20       $1,038.00


            Balance due                                                          $1,038.00




                                                                   Exhibit A - Page 38
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5713 Page 40 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                             Hrs/Rate     Amount

           Accounting & Reporting

 4/11/2019 MRF Accounting & Reporting                                                           0.60       54.00
               Call with treasuries broker re funds transfer needed. Received                  90.00/hr
               instructions from Alison Juroe re checks needed for upcoming
               distribution to investors.


           SUBTOTAL:                                                                     [      0.60       54.00]

           Investor Relations

  4/3/2019 AJ     Investor Relations                                                            0.10       21.00
                  Review and forward investor email to Kim for response.                      210.00/hr

  4/8/2019 AJ     Investor Relations                                                            0.20       42.00
                  Review emails and correspondence from investors checking on status          210.00/hr
                  of distribution; forward to Kim for response.

  4/9/2019 KW     Investor Relations                                                            3.90      312.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8.

 4/10/2019 KW     Investor Relations                                                            2.10      168.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8.

           AJ     Investor Relations                                                            0.20       42.00
                  Review emails from investors and forward to Kim for response. Call          210.00/hr
                  with Kim re same.




                                                                                             Exhibit A - Page 39
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5714 Page 41 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount


  4/11/2019 KW    Investor Relations                                                            1.30         104.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8.

            AJ    Investor Relations                                                            0.20             42.00
                  Confer with Matt re Total distribution, cash on hand, check stock, etc.     210.00/hr

  4/12/2019 KW    Investor Relations                                                            0.70             56.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8.

            AJ    Investor Relations                                                            0.30             63.00
                  Review distribution list, order, and research notice given to claimants.    210.00/hr

  4/15/2019 KW    Investor Relations                                                            0.30             24.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8.

  4/16/2019 KW    Investor Relations                                                            0.40             32.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8.

            AJ    Investor Relations                                                            0.30             63.00
                  Work on distribution worksheet. Confer with Kim re same.                    210.00/hr

  4/17/2019 KW    Investor Relations                                                            8.10         648.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8. Worked on investor address spreadsheet
                  and preparing for distribution.

  4/18/2019 KW    Investor Relations                                                            2.10         168.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8. Worked on investor address spreadsheet
                  and preparing for distribution.

            AJ    Investor Relations                                                            0.60         126.00
                  Work on getting ready for distribution, work on worksheet for upload.       210.00/hr
                  Confer with Kim re addresses, splits, etc.

  4/19/2019 KW    Investor Relations                                                            3.80         304.00
                  Returning phone calls and emails from investors regarding the latest         80.00/hr
                  decision released on 4/8. Worked on investor address spreadsheet
                  and preparing for distribution.

            AJ    Investor Relations                                                            0.10             21.00
                  Work on vendors. Direction to Bonnie, and confer with Matt re same.         210.00/hr

  4/22/2019 KW    Investor Relations                                                            1.90         152.00
                  Worked on investor address spreadsheet and preparing for                     80.00/hr
                  distribution. Contacting investors that had missing information needed
                  for distribution. Returning phone calls and emails from investors




                                                                                             Exhibit A - Page 40
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5715 Page 42 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                     Page       3

                                                                                           Hrs/Rate        Amount

                  regarding the latest decision released on 4/8.

  4/23/2019 AJ    Investor Relations                                                          0.70         147.00
                  Continue to work on getting the claims data ready to import into          210.00/hr
                  Quickbooks.

  4/24/2019 KW    Investor Relations                                                          1.20             96.00
                  Worked on investor address spreadsheet and preparing for                   80.00/hr
                  distribution. Contacting investors that had missing information needed
                  for distribution. Returning phone calls and emails from investors
                  regarding the latest decision released on 4/8.

            AJ    Investor Relations                                                          2.40         504.00
                  Upload distribution data into Quickbooks. Work on corrections and         210.00/hr
                  formatting issues. Give direction to Bonnie re same.

  4/25/2019 BC    Investor Relations                                                          6.40         384.00
                  Entered bills for distribution.                                            60.00/hr

            KW    Investor Relations                                                          0.90             72.00
                  Worked on investor address spreadsheet and preparing for                   80.00/hr
                  distribution. Contacting investors that had missing information needed
                  for distribution. Returning phone calls and emails from investors
                  regarding the latest decision released on 4/8.

            AJ    Investor Relations                                                          1.30         273.00
                  Continue to work on cleaning up addresses and distribution amounts        210.00/hr
                  in Quickbooks. Direct Bonnie re same.

  4/26/2019 MRF Investor Relations                                                            1.80         162.00
                Received instructions from Alison Juroe and processed the investor           90.00/hr
                distribution checks. Scanned signed checks.

            AJ    Investor Relations                                                          0.50         105.00
                  Confer with Matt re distribution checks ready to be printed, discuss      210.00/hr
                  letter, check stock, staffing for mailing, etc.

  4/29/2019 BC    Investor Relations                                                          5.50         330.00
                  Prepared and mailed distribution checks to claimants.                      60.00/hr

            KW    Investor Relations                                                          9.60         768.00
                  Prepped checks, labels, and letters for distribution check mailing.        80.00/hr
                  Received phone calls from investors.

            AJ    Investor Relations                                                          1.70         357.00
                  Confer with Tom re distribution checks, letter, etc. Revise letter and    210.00/hr
                  print labels, etc.. Provide direction to Kim and Bonnie re mailing.
                  Email motion to Tim for posting to website.

  4/30/2019 AJ    Investor Relations                                                          0.20             42.00
                  Review and respond to email from claimant re timing on checks, and        210.00/hr
                  title change, etc.




                                                                                           Exhibit A - Page 41
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5716 Page 43 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       4

                                                                                             Hrs/Rate        Amount


  4/30/2019 KW    Investor Relations                                                            0.80             64.00
                  Phone calls and emails from investors.                                       80.00/hr

            TM    Investor Relations                                                            1.20         198.00
                  Email from Alison re distribution order and need to post to website.        165.00/hr
                  Posted item to website and sent emails.


            SUBTOTAL:                                                                    [     60.80        5,890.00]

            Project Management

   4/8/2019 AJ    Project Management                                                            0.30             63.00
                  Review email from Josh re motion was approved, review and respond           210.00/hr
                  to same.


            SUBTOTAL:                                                                    [      0.30             63.00]

            Receiver

   4/9/2019 TAS   Receiver                                                                      0.60         162.00
                  Receiver numerous voice mails and multiple calls from investor not          270.00/hr
                  happy with offset for Cooper's restitution debt, call her re same.

  4/29/2019 TAS   Receiver                                                                      0.30             81.00
                  Prepare cover letter for distribution check.                                270.00/hr


            SUBTOTAL:                                                                    [      0.90         243.00]

            For professional services rendered                                                 62.60       $6,250.00


            Balance due                                                                                    $6,250.00




                                                                                             Exhibit A - Page 42
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5717 Page 44 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                                Hrs/Rate     Amount

           Accounting & Reporting

  5/7/2019 MRF Accounting & Reporting                                                              0.80       72.00
               Received instructions from Alison Juroe and re-issued checks that                  90.00/hr
               were previously stop-paid. Issued new stop payment per instructions
               and exchanged emails with CPA re tax reporting of distribution
               payments.

 5/24/2019 MRF Accounting & Reporting                                                              0.30       27.00
               Forwarded K-1s received for 2018 and sent per request from CPA.                    90.00/hr


           SUBTOTAL:                                                                        [      1.10       99.00]

           Investor Relations

  5/1/2019 KW     Investor Relations                                                               1.20       96.00
                  Phone calls and emails from investors.                                          80.00/hr

           TM     Investor Relations                                                               0.20       33.00
                  Saved new document in PACER.                                                   165.00/hr

  5/2/2019 AJ     Investor Relations                                                               0.40       84.00
                  Calls and emails with investors re questions about distribution. Confer        210.00/hr
                  with Tom and Kim re same. Email to Josh re investor inquiry for him to
                  resolve, review response re same.




                                                                                                Exhibit A - Page 43
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5718 Page 45 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount

   5/2/2019 KW     Investor Relations                                                           0.70             56.00
                   Phone calls and emails from investors.                                      80.00/hr

   5/3/2019 AJ     Investor Relations                                                           0.80         168.00
                   Calls and emails with investors re reissue requests and other inquires.    210.00/hr
                   Confer with Bonnie and Kim re calls.

            KW     Investor Relations                                                           1.30         104.00
                   Phone calls and emails from investors.                                      80.00/hr

   5/6/2019 MRF Investor Relations                                                              0.40             36.00
                Received instructions from Alison Juroe re distribution check re-issues        90.00/hr
                and stop payments. Logged into banking system and issued stop
                payments.

            KW     Investor Relations                                                           0.30             24.00
                   Phone calls and emails from investors.                                      80.00/hr

            AJ     Investor Relations                                                           0.70         147.00
                   Emails and calls with claimants re reissues, check problems, etc.          210.00/hr

   5/7/2019 KW     Investor Relations                                                           2.10         168.00
                   Phone calls and emails from investors. Updating addresses and               80.00/hr
                   re-mailing checks.

            AJ     Investor Relations                                                           1.40         294.00
                   Emails and calls with claimants re distribution checks, taxes, etc.        210.00/hr
                   Reissue checks.

   5/8/2019 MRF Investor Relations                                                              0.30             27.00
                Verified stop paid checks had not gone through. Mailed re-issued               90.00/hr
                payment after verification.

            AJ     Investor Relations                                                           1.60         336.00
                   Calls and emails with claimants re distribution checks, reissue            210.00/hr
                   requests, etc. Confer with Tom re calls with IRA Custodians.

   5/9/2019 KW     Investor Relations                                                           1.70         136.00
                   Phone calls and emails from investors. Updating addresses and               80.00/hr
                   re-mailing checks.

            AJ     Investor Relations                                                           0.70         147.00
                   Call with custodian, calls and emails with claimants re distribution       210.00/hr
                   check reissues, etc. Confer with Kim re same. Reissue checks.

  5/10/2019 KW     Investor Relations                                                           0.60             48.00
                   Phone calls and emails from investors.                                      80.00/hr




                                                                                             Exhibit A - Page 44
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5719 Page 46 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                      Page       3

                                                                                            Hrs/Rate        Amount

  5/10/2019 AJ    Investor Relations                                                           0.80         168.00
                  Print and mail reissued checks. Calls with claimants re same.              210.00/hr

  5/13/2019 KW    Investor Relations                                                           0.20             16.00
                  Phone calls and emails from investors.                                      80.00/hr

  5/14/2019 KW    Investor Relations                                                           0.70             56.00
                  Phone calls and emails from investors.                                      80.00/hr

            AJ    Investor Relations                                                           0.30             63.00
                  Review emails from claimants re distribution questions, reissues,          210.00/hr
                  taxes, etc.

  5/15/2019 AJ    Investor Relations                                                           1.30         273.00
                  Emails and calls with claimants re distribution. Process check             210.00/hr
                  reissues, record notes in Quickbooks, etc.

  5/16/2019 AJ    Investor Relations                                                           0.80         168.00
                  Review and respond to emails from investors requesting reissued            210.00/hr
                  checks. Look up info for IRA custodian re check split between Trad.
                  and ROTH. Confer with Kim re same. Confer with Tom re investor
                  questions about distributions if they did not file a claim. Confer with
                  Bonnie re response to same. Review and edit.

            KW    Investor Relations                                                           0.40             32.00
                  Calculating investor IRA and Roth split.                                    80.00/hr

  5/20/2019 KW    Investor Relations                                                           0.50             40.00
                  Phone calls and emails from investors.                                      80.00/hr

            AJ    Investor Relations                                                           0.20             42.00
                  Emails and calls re distribution checks to be reissued.                    210.00/hr

  5/21/2019 AJ    Investor Relations                                                           0.30             63.00
                  Review emails from investors, and checks returned for reissue.             210.00/hr
                  Confer with Kim re investor communications, and answer questions.

            KW    Investor Relations                                                           0.60             48.00
                  Phone calls and emails from investors.                                      80.00/hr

  5/22/2019 AJ    Investor Relations                                                           0.60         126.00
                  Review checks received for reissue. Respond to investor questions,         210.00/hr
                  and emails from IRA custodians.

            KW    Investor Relations                                                           0.60             48.00
                  Phone calls and emails from investors.                                      80.00/hr

  5/23/2019 AJ    Investor Relations                                                           0.30             63.00
                  Calls and emails with investors and IRA custodian re distribution          210.00/hr
                  checks.




                                                                                            Exhibit A - Page 45
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5720 Page 47 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                           Page       4

                                                                                                 Hrs/Rate        Amount

  5/23/2019 KW    Investor Relations                                                                0.70             56.00
                  Phone calls and emails from investors.                                           80.00/hr

  5/24/2019 AJ    Investor Relations                                                                1.30         273.00
                  Emails with investors re distribution checks. Work on Voiding and               210.00/hr
                  reissuing checks. Make notes in Quickbooks, etc. Follow up with
                  Bonnie on investor that is inquiring about notice of claims process.
                  Review response from investor re same.

  5/26/2019 AJ    Investor Relations                                                                0.40             84.00
                  Calls and emails with investors and IRA custodians related to                   210.00/hr
                  distribution checks.

  5/29/2019 AJ    Investor Relations                                                                0.40             84.00
                  Emails and calls with claimants re reissues, etc.                               210.00/hr

  5/30/2019 AJ    Investor Relations                                                                0.40             84.00
                  Reissue and mail checks.                                                        210.00/hr

  5/31/2019 AJ    Investor Relations                                                                0.20             42.00
                  Review email from investor that did not get a claim form. Confer with           210.00/hr
                  Bonnie re response to same.

            KW    Investor Relations                                                                0.20             16.00
                  Phone calls and emails from investors.                                           80.00/hr


            SUBTOTAL:                                                                        [     25.60        3,749.00]

            Project Management

  5/28/2019 DC    Project Management                                                                0.30             48.00
                  Received email from Tom re PPCN settlement with instructions.                   160.00/hr
                  Carried out directive of email and informed counsel.

  5/29/2019 DC    Project Management                                                                0.30             48.00
                  Received, printed and reviewed settlement agreement from counsel.               160.00/hr
                  Met with receiver, obtained signature, scanned and sent back to
                  counsel.


            SUBTOTAL:                                                                        [      0.60             96.00]

            Receivership Administration

  5/16/2019 AJ    Receivership Administration                                                       0.80         168.00
                  Process payroll. Confer with staff re hours, etc. Save and print payroll        210.00/hr
                  register, and 401k listing. Confer with Tom re funding amount needed.


            SUBTOTAL:                                                                        [      0.80         168.00]




                                                                                                 Exhibit A - Page 46
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5721 Page 48 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                         Page     5

                                                                    Hours      Amount
            For professional services rendered                      28.10    $4,112.00


            Balance due                                                      $4,112.00




                                                                  Exhibit A - Page 47
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5722 Page 49 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                           Hrs/Rate     Amount

           Accounting & Reporting

 6/11/2019 AJ     Accounting & Reporting                                                      0.40       84.00
                  Reconcile bank account, multiple months.                                  210.00/hr

           MRF Accounting & Reporting                                                         0.40       36.00
               Reviewed trial balance and spoke with CPA re finalizing returns.              90.00/hr

 6/12/2019 MRF Accounting & Reporting                                                         0.40       36.00
               Re-issued distribution checks and saved copies.                               90.00/hr

 6/18/2019 MRF Accounting & Reporting                                                         0.70       63.00
               Received info and instructions from Alison Juroe re check fraud on            90.00/hr
               investor distribution check. Exported check register and sent to Wells
               Fargo so remaining investor distribution checks can clear.

           AJ     Accounting & Reporting                                                      0.10       21.00
                  Review emails from Wells Fargo related to fraud check.                    210.00/hr

 6/19/2019 MRF Accounting & Reporting                                                         0.60       54.00
               Reviewed follow up email from banker re check fraud and pulled                90.00/hr
               check image for Alison Juroe. Processed payment for Notary re
               check fraud affidavit. Faxed form to Wells Fargo to approve newly
               issued checks.

           AJ     Accounting & Reporting                                                      1.60      336.00
                  Review emails from Wells Fargo related to filing a fraud claim. Confer    210.00/hr
                  with Matt re same. Completed the documents and discussed with
                  Tom. Once signed and notarized, provided to Bonnie to send via




                                                                                           Exhibit A - Page 48
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5723 Page 50 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       2

                                                                                               Hrs/Rate        Amount

                   certified mail service.

  6/20/2019 AJ     Accounting & Reporting                                                         0.90         189.00
                   Review, download and print checks copies in batches from Wells               210.00/hr
                   Fargo.

  6/24/2019 AJ     Accounting & Reporting                                                         1.30         273.00
                   Work on reconciliation of distribution checks.                               210.00/hr

  6/26/2019 AJ     Accounting & Reporting                                                         1.20         252.00
                   Work on reconciling the list from Millennium with the checks issued.         210.00/hr

  6/27/2019 MRF Accounting & Reporting                                                            0.30             27.00
                Call with CPA re receipt of 2018 tax return.                                     90.00/hr

  6/28/2019 MRF Accounting & Reporting                                                            0.20             18.00
                Completed form and faxed to bank so re-issued checks will clear.                 90.00/hr


            SUBTOTAL:                                                                      [      8.10        1,389.00]

            Investor Relations

   6/3/2019 AJ     Investor Relations                                                             0.20             42.00
                   Review and respond to emails from claimants with checks to be                210.00/hr
                   reissued.

   6/5/2019 AJ     Investor Relations                                                             0.80         168.00
                   Review and respond to emails regarding check issues. Void, reissue           210.00/hr
                   and mail checks.

   6/6/2019 AJ     Investor Relations                                                             0.30             63.00
                   Review voicemail and emails from investors. Respond to email from            210.00/hr
                   IRA custodian related to distribution checks.

  6/10/2019 KW     Investor Relations                                                             0.30             24.00
                   Mailed instructions for investor having difficulty with checks.               80.00/hr

  6/12/2019 AJ     Investor Relations                                                             0.10             21.00
                   Review email from Matthew re stop payment and reissue processed              210.00/hr
                   for Patti A.

  6/17/2019 AJ     Investor Relations                                                             2.50         525.00
                   Review email from investor and research checks. Find that one of the         210.00/hr
                   checks he did not receive cleared. Contact Wells Fargo and alert
                   them to the fraudulent check. Calls with Wells Fargo and the investor
                   re next steps. Discuss protected payment method for remaining
                   checks outstanding. Will provide a check register. Issue stop
                   payments on two checks lost in mail.

  6/24/2019 AJ     Investor Relations                                                             0.20             42.00
                   Review email from Millennium Trust related to distribution checks not        210.00/hr
                   received. Print report.




                                                                                               Exhibit A - Page 49
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5724 Page 51 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                           Page       3

                                                                                                 Hrs/Rate        Amount


  6/25/2019 AJ    Investor Relations                                                                0.20             42.00
                  Reviewed and responded to voice mail messages. Calls and emails                 210.00/hr
                  sent re distribution checks. Made notes in QuickBooks re same.

  6/26/2019 AJ    Investor Relations                                                                0.40             84.00
                  Calls and emails with custodian re checks split as well as with investor        210.00/hr
                  dissatisfied with the amount of distribution check.

  6/27/2019 AJ    Investor Relations                                                                0.30             63.00
                  Reissue and mail check to claimant. Calls and emails with investors.            210.00/hr


            SUBTOTAL:                                                                        [      5.30        1,074.00]

            Project Management

  6/19/2019 TM    Project Management                                                                0.20             33.00
                  Request from Alison re getting a notary, scheduled notary. Met with             165.00/hr
                  notary. Call to Tom re appointment.

            AJ    Project Management                                                                0.10             21.00
                  Request Tim set up a notary for WF Affidavit.                                   210.00/hr


            SUBTOTAL:                                                                        [      0.30             54.00]

            Receiver

   6/6/2019 TAS   Receiver                                                                          0.20             54.00
                  Direct Matt re Treasury management.                                             270.00/hr


            SUBTOTAL:                                                                        [      0.20             54.00]

            Receivership Administration

  6/19/2019 BC    Receivership Administration                                                       0.50             30.00
                  Prepared certified mail and drove to post office.                                60.00/hr


            SUBTOTAL:                                                                        [      0.50             30.00]

            For professional services rendered                                                     14.40       $2,601.00


            Balance due                                                                                        $2,601.00




                                                                                                 Exhibit A - Page 50
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5725 Page 52 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                                Hrs/Rate     Amount

           Accounting & Reporting

  7/2/2019 MRF Accounting & Reporting                                                              0.30       27.00
               Met with Receiver re closing tax return and cost estimate from CPA                 90.00/hr
               firm.

  7/3/2019 MRF Accounting & Reporting                                                              0.50       45.00
               Call with CPA to address 2018 accounting questions and status                      90.00/hr
               update on the tax returns.

           AJ     Accounting & Reporting                                                           0.30       63.00
                  Reconcile bank account.                                                        210.00/hr

 7/12/2019 MRF Accounting & Reporting                                                              0.30       27.00
               Forwarded documents from CPA to counsel re estimated closing of                    90.00/hr
               case.

 7/17/2019 MRF Accounting & Reporting                                                              0.40       36.00
               Reissued investor distribution check and issued stop pay and lost                  90.00/hr
               check.

 7/31/2019 AJ     Accounting & Reporting                                                           1.50      315.00
                  Confer with Tom re order from the court on report due on distributions.        210.00/hr
                  Discuss previous reply to Josh. Reconcile bank for July. Run reports
                  for outstanding checks, etc. Analyze data. Direct Bonnie re contacting
                  investors with checks outstanding.


           SUBTOTAL:                                                                        [      3.30      513.00]




                                                                                                Exhibit A - Page 51
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5726 Page 53 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                         Page       2

                                                                                               Hrs/Rate        Amount

            Investor Relations

   7/1/2019 KW    Investor Relations                                                              0.30             24.00
                  Spoke with investor with questions about the distributions.                    80.00/hr

   7/2/2019 AJ    Investor Relations                                                              0.30             63.00
                  Calls with investors re distribution. Mail checks and email re same.          210.00/hr

   7/3/2019 AJ    Investor Relations                                                              0.10             21.00
                  Email investor re distribution.                                               210.00/hr

   7/8/2019 AJ    Investor Relations                                                              0.30             63.00
                  Review calls and emails from claimants. Confer with Bonnie re same.           210.00/hr
                  Call with claimant that is out of country and has not received checks.

            KW    Investor Relations                                                              0.30             24.00
                  Spoke with investor with questions about the distributions.                    80.00/hr

   7/9/2019 AJ    Investor Relations                                                              0.20             42.00
                  Review messages and correspondence from investors. Confer with                210.00/hr
                  Tom re PPCN investor. Call with investor and explain status of case.

            AJ    Investor Relations                                                              0.70         147.00
                  Review and respond to emails and calls related to distribution checks         210.00/hr
                  needing to be reissued. Process and mail checks.

  7/15/2019 AJ    Investor Relations                                                              0.20             42.00
                  Confer with Bonnie re reissue. Review email from investor re same.            210.00/hr

  7/16/2019 AJ    Investor Relations                                                              0.90         189.00
                  Reissue distribution checks, calls and emails re same. Reconcile and          210.00/hr
                  review outstanding checks, etc.

  7/22/2019 AJ    Investor Relations                                                              0.20             42.00
                  Call with investor re distribution check question.                            210.00/hr

  7/24/2019 TM    Investor Relations                                                              0.10             16.50
                  Sorted emails of case into proper folders for archiving. Highlighted          165.00/hr
                  items requiring work re website.

  7/29/2019 AJ    Investor Relations                                                              0.30             63.00
                  Call with investor re issues with distribution check.                         210.00/hr

  7/31/2019 AJ    Investor Relations                                                              0.70         147.00
                  Review email from Millennium re checks not received for certain               210.00/hr
                  clients. Format report and provide direction to Julia on filling out
                  information for the listed investors.


            SUBTOTAL:                                                                      [      4.60         883.50]




                                                                                               Exhibit A - Page 52
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5727 Page 54 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       3

                                                                                              Hrs/Rate        Amount

            Project Management

  7/10/2019 DC    Project Management                                                             0.60             96.00
                  Worked with claims processors to optimize emailed files to speed             160.00/hr
                  printing process.

  7/16/2019 AJ    Project Management                                                             0.30             63.00
                  Prepare email to Josh with details and status on distribution, checks        210.00/hr
                  outstanding, etc.

  7/30/2019 AJ    Project Management                                                             0.30             63.00
                  Review PPCN Motion and Dec. Confer with Tom re same.                         210.00/hr


            SUBTOTAL:                                                                     [      1.20         222.00]

            Receivership Administration

  7/17/2019 BC    Receivership Administration                                                    0.10              6.00
                  Prepared checks and mailed to claimant.                                       60.00/hr


            SUBTOTAL:                                                                     [      0.10              6.00]

            For professional services rendered                                                   9.20       $1,624.50


            Balance due                                                                                     $1,624.50




                                                                                              Exhibit A - Page 53
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5728 Page 55 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                   Hrs/Rate      Amount

           Accounting & Reporting

 7/23/2019 MRF Accounting & Reporting                                                 0.30    NO CHARGE
               Reviewed comments re CPA's fee application from legal counsel         90.00/hr
               and forwarded to CPA.


           SUBTOTAL:                                                           [      0.30          0.00]

           For professional services rendered                                         0.30         $0.00


           Balance due                                                                             $0.00




                                                                                     Exhibit A - Page 54
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5729 Page 56 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
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Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                               Hrs/Rate     Amount

           Accounting & Reporting

  8/2/2019 MRF Accounting & Reporting                                                             0.40       36.00
               Reviewed vendor invoices and processed accounts payable.                          90.00/hr

  8/5/2019 AJ     Accounting & Reporting                                                          0.80      168.00
                  Follow up with Bonnie on report. Reconcile bank account, etc.                 210.00/hr

 8/16/2019 MRF Accounting & Reporting                                                             0.40       36.00
               Conversation with CPA re wind down of receivership and timeline for               90.00/hr
               filing final tax returns.

 8/21/2019 MRF Accounting & Reporting                                                             1.20      108.00
               Met with Thomas Seaman to review the 2018 QSF tax return and                      90.00/hr
               execute. Gave instructions to Bonnie Carver re mailing same.


           SUBTOTAL:                                                                       [      2.80      348.00]

           Investor Relations

  8/1/2019 AJ     Investor Relations                                                              0.10       21.00
                  Call with investor re distribution check.                                     210.00/hr

           AJ     Investor Relations                                                              0.80      168.00
                  Confer with Bonnie re un-cashed distribution checks and status on             210.00/hr
                  contacting the claimants. Review response and give direction re follow
                  up. Make updates in Quickbooks. Reissue checks, etc.




                                                                                               Exhibit A - Page 55
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5730 Page 57 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                 Page       2

                                                                                       Hrs/Rate        Amount

   8/1/2019 AJ    Investor Relations                                                      0.40             84.00
                  Review messages and correspondence. Give Julia direction on           210.00/hr
                  Millennium Trust checks worksheet. Review finished worksheet.

   8/2/2019 BC    Investor Relations                                                      0.50             30.00
                  Contacted claimant regarding check that hadn't cleared.                60.00/hr

            AJ    Investor Relations                                                      0.30             63.00
                  Update check status on report, and follow with Bonnie on progress     210.00/hr
                  with contacting claimants

   8/5/2019 BC    Investor Relations                                                      0.30             18.00
                  Contacted claimants regarding check that hadn't cleared.               60.00/hr

            AJ    Investor Relations                                                      0.30             63.00
                  Calls with investors re distribution issues.                          210.00/hr

   8/6/2019 AJ    Investor Relations                                                      0.80         168.00
                  Review info from Bonnie re status on un-cashed checks. Follow up      210.00/hr
                  with Bonnie re same. Update Quickbooks' email to Matt re stop
                  payments and checks to be printed. Update addresses, and void and
                  reissue checks.

            BC    Investor Relations                                                      1.00             60.00
                  Contacted claimants regarding check that hadn't cleared. Updated       60.00/hr
                  addresses in Quickbooks.

            MRF Investor Relations                                                        0.90             81.00
                Received instructions from Alison Juroe and stop-paid/re-issued          90.00/hr
                distribution checks. Saved backup copies and mailed checks.

   8/7/2019 BC    Investor Relations                                                      0.20             12.00
                  Contacted claimants regarding check that hadn't cleared. Updated       60.00/hr
                  addresses in Quickbooks.

            KW    Investor Relations                                                      0.30             24.00
                  Spoke with investor with questions about the distributions.            80.00/hr

            MRF Investor Relations                                                        0.40             36.00
                Re-issued distribution checks per instructions from Alison Juroe and     90.00/hr
                faxed confirmation to bank for processing.

            AJ    Investor Relations                                                      0.10             21.00
                  Reissue checks, confer with Bonnie, and email Matt re same.           210.00/hr

            AJ    Investor Relations                                                      0.20             42.00
                  Confer with Kim re claim issue, incorrect claim calculation.          210.00/hr




                                                                                       Exhibit A - Page 56
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5731 Page 58 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                          Page       3

                                                                                                Hrs/Rate        Amount

   8/8/2019 AJ     Investor Relations                                                              0.20             42.00
                   Calls with claimants re distribution checks.                                  210.00/hr

   8/9/2019 AJ     Investor Relations                                                              0.20             42.00
                   Gave Kim direction re MT checks, updating report.                             210.00/hr

  8/12/2019 TM     Investor Relations                                                              1.00         165.00
                   Email from Diaz with items to post to website. Prepared narrative,            165.00/hr
                   uploaded documents, posted to website and sent out emails to
                   subscribers. Email to group re completion.

  8/13/2019 AJ     Investor Relations                                                              0.10             21.00
                   Review email from investor with questions re DA's case against                210.00/hr
                   Cooper. Forward to Tom for response.

  8/15/2019 AJ     Investor Relations                                                              0.20             42.00
                   Email to Millennium Trust with detailed info requested on IRA clients.        210.00/hr

  8/22/2019 MRF Investor Relations                                                                 0.40             36.00
                Received instructions from Alison Juroe and re-issued distribution                90.00/hr
                checks to proper payee.

  8/27/2019 AJ     Investor Relations                                                              0.20             42.00
                   Review voicemail from Tom re Total Wealth investor. Review                    210.00/hr
                   message and discuss case status with Kim. Direct Kim to return the
                   call. Confer with Bonnie re same.

            KW     Investor Relations                                                              0.40             32.00
                   Spoke with investor with questions about the distributions.                    80.00/hr

  8/28/2019 AJ     Investor Relations                                                              0.30             63.00
                   Confer with Kim re Sheila Conner. Confer with Bonnie re same.                 210.00/hr
                   Review emails and VM archives to confirm no call or email other than
                   claim filing.

  8/29/2019 AJ     Investor Relations                                                              0.20             42.00
                   Call with Tom re Total Wealth investor with claim error. Call with Kim        210.00/hr
                   re same.

            KW     Investor Relations                                                              0.40             32.00
                   Spoke with investor with questions about the distributions.                    80.00/hr

            AJ     Investor Relations                                                              0.30             63.00
                   Review email and confer with Kim re Sheila Conner. Confer with                210.00/hr
                   Bonnie re same. Review email and vm archives and confirm no calls
                   or emails other than claim filing.

  8/30/2019 KW     Investor Relations                                                              0.40             32.00
                   Spoke with investor with questions about the distributions.                    80.00/hr


            SUBTOTAL:                                                                       [     10.90        1,545.00]




                                                                                                Exhibit A - Page 57
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5732 Page 59 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                        Page       4

                                                                                              Hrs/Rate        Amount

            Project Management

   8/6/2019 AJ    Project Management                                                             0.70         147.00
                  Work on gathering details and figures for response to Josh for report        210.00/hr
                  to court. Email Josh with distribution status.

  8/12/2019 AJ    Project Management                                                             0.10             21.00
                  Review email from Josh del Castillo.                                         210.00/hr

  8/16/2019 AJ    Project Management                                                             0.10             21.00
                  Review email from Josh related to SEC filed non-oppostion to PPCN            210.00/hr
                  settlement.


            SUBTOTAL:                                                                     [      0.90         189.00]

            Receivership Administration

   8/7/2019 BC    Receivership Administration                                                    0.30             18.00
                  Contacted claimants regarding check that hadn't cleared. Updated              60.00/hr
                  addresses in Quickbooks.

            BC    Receivership Administration                                                    0.30             18.00
                  Prepared checks for mailing to claimants.                                     60.00/hr


            SUBTOTAL:                                                                     [      0.60             36.00]

            For professional services rendered                                                  15.20       $2,118.00


            Balance due                                                                                     $2,118.00




                                                                                              Exhibit A - Page 58
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5733 Page 60 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                           Hrs/Rate     Amount

           Accounting & Reporting

 9/19/2019 AJ     Accounting & Reporting                                                      0.40       84.00
                  Reconcile bank account. Review outstanding checks. Confer with            210.00/hr
                  Bonnie re reissues requested. Process reissues and email Matt re
                  same.

           MRF Accounting & Reporting                                                         0.70       63.00
               Call with CPA re wrapping up case and final tax returns. Received             90.00/hr
               instructions from Alison Juroe and voided outstanding distribution
               checks.

           MRF Accounting & Reporting                                                         0.40       36.00
               Received instructions from Alison Juroe and stop-paid/re-issued               90.00/hr
               distribution check.

 9/20/2019 AJ     Accounting & Reporting                                                      0.70      147.00
                  Work on finalizing amounts for Norman to file. Confer with Matt re        210.00/hr
                  interest on treasury funds. Print statement. Confer with Tom re
                  adjusting entry. Email Norman with info requested.

 9/27/2019 MRF Accounting & Reporting                                                         0.20       18.00
               Responded to banker re treasury investments.                                  90.00/hr


           SUBTOTAL:                                                                   [      2.40      348.00]

           Investor Relations

  9/3/2019 AJ     Investor Relations                                                          0.20       42.00
                  Review VM and print off copy of cleared check from WF website.            210.00/hr




                                                                                           Exhibit A - Page 59
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5734 Page 61 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                       Page       2

                                                                                             Hrs/Rate        Amount

                  Confer with Tom re code for same. Call with investor and discuss
                  check, endorsement, etc.

   9/3/2019 KW    Investor Relations                                                            0.30             24.00
                  Wrote letter for an investor.                                                80.00/hr

            AJ    Investor Relations                                                            0.20             42.00
                  Confer with Kim re Conner claim issue. Direct re drafting letter as         210.00/hr
                  requested.

   9/5/2019 AJ    Investor Relations                                                            0.20             42.00
                  Emails and call with claimants and Kim re distribution questions.           210.00/hr

  9/10/2019 AJ    Investor Relations                                                            0.20             42.00
                  Call with investor needing EIN for tax purposes. Confer with Tom and        210.00/hr
                  Matt, and provide info requested.

  9/13/2019 AJ    Investor Relations                                                            0.70         147.00
                  Review and revise letter to claimant. Confer with Kim re details on         210.00/hr
                  claim amounts. Verify revised claim and distribution calculation.
                  Confer with Matt and Tom re check to be cut and get approval.

            MRF Investor Relations                                                              0.30             27.00
                Processed investor check per instructions from Alison Juroe and                90.00/hr
                mailed.

  9/17/2019 AJ    Investor Relations                                                            0.10             21.00
                  Sent email to investor re claim error resolution.                           210.00/hr

            AJ    Investor Relations                                                            0.10             21.00
                  Review and forward investor email to Bonnie. Review distribution and        210.00/hr
                  confirm check cleared. Review Bonnie's response.

            BC    Investor Relations                                                            0.20             12.00
                  Responded to email from claimant.                                            60.00/hr

  9/19/2019 BC    Investor Relations                                                            0.40             24.00
                  Responded to email from claimant. Updated Quickbooks with address            60.00/hr
                  change.

            KW    Investor Relations                                                            0.30             24.00
                  Spoke with investor about outstanding check.                                 80.00/hr


            SUBTOTAL:                                                                    [      3.20         468.00]

            Project Management

  9/13/2019 AJ    Project Management                                                            0.30             63.00
                  Review emails from Josh and Norman, print final report and begin to         210.00/hr
                  review.




                                                                                             Exhibit A - Page 60
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5735 Page 62 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                           Page       3

                                                                                                 Hrs/Rate        Amount


  9/19/2019 AJ    Project Management                                                                0.60         126.00
                  Review vm and email from Norman. Review Final Report and make                   210.00/hr
                  comments. Call with Norman and discuss cash balance, revisions,
                  and timing for filing.

            AJ    Project Management                                                                0.60         126.00
                  Review Distribution motion and look for un-cashed check directive.              210.00/hr
                  Confer with Tom re closing case. Discuss hold back, reserve, etc.
                  Confer with Matt re accountant fees, etc. Confer with Tim re final bill.

  9/23/2019 AJ    Project Management                                                                0.10             21.00
                  Review email from Matt re box.com renewal.                                      210.00/hr


            SUBTOTAL:                                                                        [      1.60         336.00]

            Receivership Administration

   9/9/2019 BC    Receivership Administration                                                       0.20             12.00
                  Prepared certified mailing to IRS.                                               60.00/hr


            SUBTOTAL:                                                                        [      0.20             12.00]

            For professional services rendered                                                      7.40       $1,164.00


            Balance due                                                                                        $1,164.00




                                                                                                 Exhibit A - Page 61
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5736 Page 63 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate      Amount

           Accounting & Reporting

 9/13/2019 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Checked timeslips and email to Bonnie re description.                    165.00/hr

 9/19/2019 TM     Accounting & Reporting                                                     0.10    NO CHARGE
                  Direction to begin final fee app.                                        165.00/hr

 9/28/2019 TM     Accounting & Reporting                                                     3.10    NO CHARGE
                  Checked timeslips for upcoming fee app. Started template for next        165.00/hr
                  application spreadsheet. Prepared spreadsheet of summary for
                  Tom.


           SUBTOTAL:                                                                  [      3.30          0.00]

           For professional services rendered                                                3.30         $0.00


           Balance due                                                                                    $0.00




                                                                                            Exhibit A - Page 62
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5737 Page 64 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                               Hrs/Rate     Amount

           Accounting & Reporting

10/22/2019 AJ     Accounting & Reporting                                                          0.20       42.00
                  Review accounts and reconcile. Run reports for Tom.                           210.00/hr

10/26/2019 MRF Accounting & Reporting                                                             0.40       36.00
               Processed vendor payment deposited tax refund.                                    90.00/hr

10/30/2019 AJ     Accounting & Reporting                                                          0.20       42.00
                  Confer with Tom re Total accounting. Check stale date passed. Void            210.00/hr
                  checks, and reconcile, run reports for Tom. Look up distribution order
                  and confer with Tom re same.


           SUBTOTAL:                                                                       [      0.80      120.00]

           Investor Relations

 10/4/2019 AJ     Investor Relations                                                              0.10       21.00
                  Call from investor, review and forward to Bonnie.                             210.00/hr

10/11/2019 MRF Investor Relations                                                                 0.40       36.00
               Re-issued investor check per instructions from Alison Juroe. Saved                90.00/hr
               backup documents and gave info to Bonnie Carver for shipping.

           AJ     Investor Relations                                                              0.20       42.00
                  Call with investor re reissue. Confer with Matt re same.                      210.00/hr




                                                                                               Exhibit A - Page 63
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5738 Page 65 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                       Page       2

                                                                             Hrs/Rate        Amount

 10/28/2019 AJ    Investor Relations                                            0.10             21.00
                  Review email from Matt re check stale date.                 210.00/hr


            SUBTOTAL:                                                    [      0.80         120.00]

            Project Management

 10/25/2019 TM    Project Management                                            0.20             33.00
                  Searched for documents on PACER. Downloaded several.        165.00/hr


            SUBTOTAL:                                                    [      0.20             33.00]

            Receiver

 10/30/2019 TAS   Receiver                                                      0.20             54.00
                  Confer with staff and counsel re report and fee app.        270.00/hr


            SUBTOTAL:                                                    [      0.20             54.00]

            For professional services rendered                                  2.00        $327.00


            Balance due                                                                     $327.00




                                                                             Exhibit A - Page 64
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5739 Page 66 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                            Hrs/Rate      Amount

           Accounting & Reporting

10/15/2019 TM     Accounting & Reporting                                                       0.50    NO CHARGE
                  Prepared spreadsheet for Tom re timeslips.                                 165.00/hr

10/16/2019 TM     Accounting & Reporting                                                       0.80    NO CHARGE
                  Checked additional timeslips for next fee app. Email to attorney re        165.00/hr
                  previous Word document and received item.

10/22/2019 TM     Accounting & Reporting                                                       0.10    NO CHARGE
                  Call from Tom re previous fee apps and found info. Called him back.        165.00/hr


           SUBTOTAL:                                                                    [      1.40          0.00]

           For professional services rendered                                                  1.40         $0.00


           Balance due                                                                                      $0.00




                                                                                              Exhibit A - Page 65
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5740 Page 67 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate     Amount

           Investor Relations

 11/6/2019 AJ     Investor Relations                                                             0.10        21.00
                  Confer with Bonnie re email from investor stating checks were not            210.00/hr
                  received. Review accounting and provide direction re same.

11/26/2019 TM     Investor Relations                                                             0.20        33.00
                  Email from attorney re need to remove hyperlink for one of the               165.00/hr
                  postings due to Court order. Tried to log onto Network Solutions four
                  times but it has a problem and is in "service."

11/27/2019 TM     Investor Relations                                                             0.80       132.00
                  Removed hyperlinks from posting of the Receiver's suit against               165.00/hr
                  Private Placement Notes per Court order sent by Scollan. Searched
                  website re if any other postings need to be edited. Email to Scollan.
                  Made back-up of website.


           SUBTOTAL:                                                                      [      1.10       186.00]

           Receiver

11/23/2019 TAS    Receiver                                                                       0.70       189.00
                  Prepare worksheet for final accounting, cash on hand and liabilities.        270.00/hr


           SUBTOTAL:                                                                      [      0.70       189.00]

           For professional services rendered                                                    1.80      $375.00




                                                                                              Exhibit A - Page 66
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5741 Page 68 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                       Page      2

                                                                              Amount


            Balance due                                                       $375.00




                                                                  Exhibit A - Page 67
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5742 Page 69 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                          Hrs/Rate     Amount

           Accounting & Reporting

12/10/2019 MRF Accounting & Reporting                                                        0.50       45.00
               Met with Thomas Seaman & Alison Juroe re closing out case, final             90.00/hr
               accounting, and tax return preparation.

           MRF Accounting & Reporting                                                        0.90       81.00
               Processed final payables and vendor payments. Closed accounts.               90.00/hr

           MRF Accounting & Reporting                                                        2.80      252.00
               Printed financial statements and sent to CPAs for final receivership         90.00/hr
               tax return preparation. Exchanged calls and emails with CPA to clear
               up various general ledger accounts. Provide details re classification of
               incoming funds and expenses re 2019.

           MRF Accounting & Reporting                                                        0.60       54.00
               Received final receivership tax returns and met with Thomas Seaman           90.00/hr
               to execute. Gave instructions to Bonnie Carver re certified mailing of
               final returns.

           MRF Accounting & Reporting                                                        0.50       45.00
               Communicated with vendor to setup document destruction. Met with             90.00/hr
               vendor and provided boxes for shredding.

           AJ     Accounting & Reporting                                                     0.40       84.00
                  Reconcile accounts, download account statements, make interest           210.00/hr
                  entries, and confer with Tom re same.




                                                                                          Exhibit A - Page 68
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5743 Page 70 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                            Page       2

                                                                                                  Hrs/Rate        Amount

 12/10/2019 AJ    Accounting & Reporting                                                             0.40             84.00
                  Case closing slip for Final bank account reconciliations.                        210.00/hr


            SUBTOTAL:                                                                         [      6.10         645.00]

            Investor Relations

 12/10/2019 AJ    Investor Relations                                                                 1.50         315.00
                  Case closing slip for estimated time for investor communications.                210.00/hr


            SUBTOTAL:                                                                         [      1.50         315.00]

            Project Management

 12/10/2019 AJ    Project Management                                                                 0.30             63.00
                  Confer with Tom and Matt re finalizing case. Review motion and                   210.00/hr
                  declaration sent by David. Email re Box.com account, and other case
                  closing items.

            AJ    Project Management                                                                 0.30             63.00
                  Case closing slip to assist Tom with exhibits and review of Final report.        210.00/hr


            SUBTOTAL:                                                                         [      0.60         126.00]

            Receiver

  12/1/2019 TAS   Receiver                                                                           0.30             81.00
                  Confer with Tim re website re PPCN.                                              270.00/hr

  12/3/2019 TAS   Receiver                                                                           0.20             54.00
                  Emails with counsel re discharge papers.                                         270.00/hr

 12/10/2019 TAS   Receiver                                                                           0.40         108.00
                  Confer with Matt and Alison re closing final accounting work.                    270.00/hr

            TAS   Receiver                                                                           3.70         999.00
                  Review draft discharge papers, re-write accounting, reconcile, make              270.00/hr
                  revisions, add numbers, emails and calls re same.

            TAS   Receiver                                                                           0.60         162.00
                  Prepare SFAR.                                                                    270.00/hr

            TAS   Receiver                                                                           0.90         243.00
                  Prepare reserve variance analysis.                                               270.00/hr




                                                                                                  Exhibit A - Page 69
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5744 Page 71 of 76



Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.                                                 Page       3

                                                                                       Hrs/Rate        Amount

 12/10/2019 TAS   Receiver                                                                0.40         108.00
                  Approve final distributions.                                          270.00/hr

            TAS   Receiver                                                                0.50         135.00
                  Confer with Counsel re revisions to discharge papers.                 270.00/hr

            TAS   Receiver                                                                0.30             81.00
                  Review and revise proposed order.                                     270.00/hr

            TAS   Receiver                                                                0.40         108.00
                  Review and revise counsel's fee application.                          270.00/hr


            SUBTOTAL:                                                              [      7.70        2,079.00]

            Receivership Administration

 12/10/2019 BC    Receivership Administration                                             0.50             30.00
                  Prepared certified mailings of final receivership tax returns.         60.00/hr


            SUBTOTAL:                                                              [      0.50             30.00]

            For professional services rendered                                           16.40       $3,195.00


            Balance due                                                                              $3,195.00




                                                                                       Exhibit A - Page 70
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5745 Page 72 of 76



Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614


Invoice submitted to:
Thomas Seaman, Receiver for Total Wealth Mgmt. Inc.
Thomas Seaman Company
3 Park Plaza
Suite 550
Irvine, CA 92614



December 12, 2019


Invoice #11202



           Professional Services

                                                                                              Hrs/Rate      Amount

           Accounting & Reporting

 12/5/2019 TM     Accounting & Reporting                                                         0.40    NO CHARGE
                  Email from Tom re TWM link. Printed out and explained that the link          165.00/hr
                  has been removed. Researched previous email to Scollan,
                  discussed with Tom and email to Scollan re same.

12/11/2019 TM     Accounting & Reporting                                                         3.00    NO CHARGE
                  Prepared spreadsheet exhibits for fee app for Tom's review.                  165.00/hr

12/12/2019 TM     Accounting & Reporting                                                         4.50    NO CHARGE
                  Finished edits to narrative, entered timeslips and SFAR info. Printed        165.00/hr
                  and gave to Tom. Made exhibits for attorneys.


           SUBTOTAL:                                                                      [      7.90          0.00]

           For professional services rendered                                                    7.90         $0.00


           Balance due                                                                                        $0.00




                                                                                                Exhibit A - Page 71
Case 3:15-cv-00226-BAS-MSB
               STANDARDIZED FUNDDocument
                                ACCOUNTING259-6
                                           REPORT Filed
                                                  for Total01/23/20     PageID.5746
                                                            Wealth Management - Cash Basis Page 73 of 76
                                                Receivership; Case No. 15-cv-226-BAS-DHB
                                                 Reporting Period 02/01/2019 to 12/31/2019

             FUND ACCOUNTING (See instructions):
                                                                             Detail          Subtotal   Grand Total
             Line 1        Beginning Balance (01/31/2019):                    3,353,316                     3,353,316

                           Increases in Fund Balance:

             Line 2        Business Income                                                                        -
             Line 3        Cash and Securities                                      800                           800
             Line 4        Interest/Dividend Income                              17,682                        17,682
             Line 5        Business Asset Liquidation                                                             -
             Line 6        Personal Asset Liquidation                                                             -
             Line 7        Third-Party Litigation Income                         25,000                        25,000
             Line 8        Miscellaneous - Other                                                                  -
                           Total Funds Available (Lines 1 - 8):               3,396,798                     3,396,798

                           Decreases in Fund Balance:

             Line 9        Disbursements to Investors                        (2,831,781)                   (2,831,781)

             Line 10       Disbursements to Receivership Operations
                Line 10a   Disbursement to Receiver or Other Professionals                                        -
                Line 10b   Business Asset Expenses                                                                -
                Line 10c   Personal Asset Expenses                               (2,027)                       (2,027)
                Line 10d   Investment Expenses                                                                    -
                Line 10e   Third-Party Litigation Expenses                                                        -
                             1. Attorney Fees                                        -                            -
                             2. Litigation Expenses                                  -                            -
                             Total Third-Party Litigation Expenses                   -                            -

                Line 10f Tax Administrator Fees and Bonds                            -                            -
                Line 10g Federal and State Tax Payments
                         Total Disbursements for Receivership Operations                                       (2,027)

             Line 11     Disbursements for Distribution Expenses Paid by the Fund:
                Line 11a Distribution Plan Development Expenses:
                         1. Fees:
                           Fund Administrator………………………………                            -                            -
                           Independent Distribution Consultant (IDC)..               -                            -
                           Distribution Agent…………………………………                           -                            -
                           Consultants………………………………………                                -                            -
                           Legal Advisors……………………………………                              -                            -
                           Tax Advisors………………………………………                               -                            -
                         2. Administrative Expenses                                  -                            -
                         3. Miscellaneous                                            -                            -
                         Total Plan Developmental Expenses                                                        -

                Line 11b Distribution Plan Implementation Expenses:
                         1. Fees:
                           Fund Administrator………………………………                            -                            -
                           IDC………………………………………………                                     -                            -
                           Distribution Agent…………………………………                           -                            -
                           Consultants………………………………………                                -                            -
                           Legal Advisors……………………………………                              -                            -
                           Tax Advisors………………………………………                               -                            -
                         2. Administrative Expenses                                  -                            -
                         3. Investor Identification:
                           Notice/Publishing Approved Plan……………                                                   -
                           Claimant Identification…………………………..                       -                            -
                           Claims Processing…………………………………                            -                            -
                           Web Site Maintenance/Call Center………….                     -                            -
                         4. Fund Administrator Bond                                  -                            -
                         5. Miscellaneous                                            -                            -
                         6. Federal Account for Investor Restitution
                         (FAIR) Reports Expenses                                     -                            -
                         Total Plan Implementation Expenses                          -                            -
                         Total Disbursements for Distribution Expenses Paid by the Fund                           -

             Line 12     Disbursements to Court/Other:
                Line 12a Investment Expenses/Court Registry Investment
                         System (CRIS) Fees                                          -                            -
                Line 12b Federal Tax Payments                                        -                            -
                         Total Disbursement to Court/Other:                                                       -
                                                                                                                         Exhibit B
                         Total Funds Disbursed (Lines 9 - 11):                                             (2,833,808)
                                                                                                                          Page 72
             Line 13       Ending Balance (As of 12/31/2019):                                                 562,990
Case 3:15-cv-00226-BAS-MSB      Document
                STANDARDIZED FUND          259-6
                                  ACCOUNTING        Filed
                                             REPORT for Total01/23/20     PageID.5747
                                                             Wealth Management - Cash Basis Page 74 of 76
                                                   Receivership; Case No. 15-cv-226-BAS-DHB
                                                    Reporting Period 02/01/2019 to 12/31/2019

               Line 14       Ending Balance of Fund - Net Assets:
                  Line 14a   Cash & Cash Equivalents                                                                        562,990
                  Line 14b   Investments                                                                                        -
                  Line 14c   Other Assets or Uncleared Funds                                                                    -
                             Total Ending Balance of Fund - Net Assets                                                      562,990



               OTHER SUPPLEMENTAL INFORMATION:
                                                                                          Detail            Subtotal   Grand Total
                             Report of Items NOT to be Paid by the Fund:

               Line 15     Disbursement for Plan Administration Expenses Not Paid by the Fund:
                  Line 15a Plan Development Expenses Not Paid by the Fund:
                           1. Fees:
                             Fund Administrator…………………………………                            -                                       -
                             IDC…………………………………………………                                     -                                       -
                             Distribution Agent…………………………………                            -                                       -
                             Consultants…………………………………………                                -                                       -
                             Legal Advisors………………………………………                              -                                       -
                             Tax Advisors…………………………………………                               -                                       -
                           2. Administrative Expenses                                   -                                       -
                           3. Miscellaneous                                             -                                       -
                           Total Plan Developmental Expenses Not Paid by the Fund                                               -

                  Line 15b Plan Implementation Expenses Not Paid by the Fund
                           1. Fees:
                             Fund Administrator…………………………………                            -                                       -
                             IDC………………………………………………………………                                                                        -
                             Distribution Agent…………………………………                            -                                       -
                             Consultants…………………………………………                                -                                       -
                             Legal Advisors………………………………………                              -                                       -
                             Tax Advisors…………………………………………                               -                                       -
                           2. Administrative Expenses                                   -                                       -
                           3. Investor Identification
                             Notice/Publishing Approved Plan……………                       -                                       -
                             Claimant Identification…………………………..                        -                                       -
                             Claims Processing……………………………………                                                                    -
                             Web Site Maintenance/Call Center………….                                                              -
                           4. Fund Administrator Bond                                   -                                       -
                           5. Miscellaneous                                             -                                       -
                           6. FAIR Reporting Expenses                                   -                                       -
                           Total Plan Implementation Expenses Not Paid by the Fund                                              -
                  Line 15c Tax Administrator Fees & Bonds Not Paid by the Fund                                                  -
                           Total Disbursements for Plan Administration Expenses Not Paid by the Fund                            -

               Line 16     Disbursements to Court/Other Not Paid by the Fund:
                  Line 16a Investment Expenses/CRIS Fees                                           -                            -
                  Line 16b Federal Tax Payments                                                    -                            -
                           Total Disbursement to Court/Other Not Paid by the Fund:                                              -

               Line 17       DC & State Tax Payments                                               -                            -

               Line 18    No. of Claims:
                  Line 18a # of Claims Received This Reporting Period…………………………………………………………..
                  Line 18b # of Claims Received Since Inception of Fund……………………………………………………….
               Line 19    No. of Claimants/Investors:
                  Line 19a # of Claimants/Investors Paid this Reporting Period   261
                  Line 19b # of Claimants/Investors Paid Since Inception of Fu   261



                                                                         Receiver:

                                                                              By:
                                                                                     Thomas Seaman
                                                                                     Receiver for Total Wealth


                                                                            Date:           12/10/2019




                                                                                                                                      Exhibit B
                                                                                                                                       Page 73
Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5748 Page 75 of 76



     1                                              PROOF OF SERVICE
    2                         Securities and Exchange Comntission a. TotolWealth Mnnagement,Inc,, et al.
                                      USDC, Southern District of California - Case No. 15-cv-226 BAS-MSB
    a
    J
                  am employed in the County of Los Angeles, State of California. I am over
                        I
    4
          the age of 18 and not a party to the within action. My business address is
    5     865 S. Figueroa Street, Suite 2800, Los Angeles, California 90017-2543.
    6           On Janu ary 23, 2020,I caused to be served on all the parties to this action
          addressed as stated on the attached service list the document entitled:
    7
          DECLARATION OF THOMAS A. SEAMAN IN SUPPORT O F MOTION OF
     8    RECETVER FOR ORDER: (1) APPROVING FINAL REPORT AND
    9     ACCO UNTING: Q\ AUTH ORIZING PA YMENT OF FINAL FEE
          APPLICATIONS OF RECEIVER AND PROFBSSIONALS: AND
   10     (3) STAYIN RECEIVERSHIP                   DISCHARGING AND             LEASING
   11     RECEIVER
          n OFFICE MAIL: By placing in sealed envelope(s), which I placed for
                collection and mailing today following ordinary business practices. I am
   1,2

   13           readily familiar with the firm's practice for collection and processing of
   I4                   correspondence for mailing; such correspondence would be deposited with the
                        U.S. Postal Service on the same day in the ordinary aourse of business.
   15
          tr            OVERNIGHT DBLIVERY: I deposited in a box or other facility regularly
   T6                   maintained by express service carrier, or delivered to a courier or driver
                        authorized by said express service carrier to receive documents, a true copy of
   I7
                        the foregoing document(s) in sealed envelope(s) or package(s) designed by the
   18                   express service carrier, addressed as indicated on the attached service list, with
                        fees for overnight delivery paid or provided for.
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          tr            HAND DELIVERY: I caused to be hand delivered each such envelope to
                        the office of the addressee as stated on the attached service list.
   2l     n             ELECTRONIC MAIL: By transmitting the document by electronic mail to
   22                   the electronic mail address as stated on the attached service list.

   ./.3   E             E-FILING: By causing the document to be electronically filed via the Court's
                        CM/ECF system, which effects electronic service on counsel who are
   24                   registered with the CM/ECF system.
   25     !             FAX: B5, transmitting the document by facsimile transmission. The
   26                   transmission was reported as complete and without error.

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Case 3:15-cv-00226-BAS-MSB Document 259-6 Filed 01/23/20 PageID.5749 Page 76 of 76



    I         I declare that I am employed in the office of a member of the Bar of this Court
        at whose direction the service was made. I declare under penalty of perjury under the
    2
        laws of the United States of Americalhatthe foregoing is true and correct. Executed
    a
    J   on January 23r2020 at Los Ange les, California.
                                                               --.d
    4                                                       &tL&*
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                                                 Martha Diaz

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